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                                                   Dated: July 19, 2023.                                  on this rule must be received on or                   contents located outside of the primary
                                                 Shira Perlmutter,                                        before August 30, 2023.                               submission (i.e., on the web, cloud, or
                                                 Register of Copyrights and Director of the               ADDRESSES: You may send comments,                     other file sharing system). Please visit
                                                 U.S. Copyright Office.                                   identified by Docket ID No. EPA–HQ–                   https://www.epa.gov/dockets/
                                                   Approved by:                                           OAR–2021–0668, by any of the                          commenting-epa-dockets for additional
                                                 Carla D. Hayden,                                         following methods:                                    submission methods; the full EPA
                                                                                                             • Federal eRulemaking portal:                      public comment policy; information
                                                 Librarian of Congress.
                                                                                                          https://www.regulations.gov (our                      about CBI, PBI, or multimedia
                                                 [FR Doc. 2023–15941 Filed 7–28–23; 8:45 am]
                                                                                                          preferred method). Follow the online                  submissions; and general guidance on
                                                 BILLING CODE 1410–30–P                                   instructions for submitting comments.                 making effective comments.
                                                                                                             • Mail: U.S. Environmental
                                                                                                          Protection Agency, EPA Docket Center,                 B. Potentially Affected Entities
                                                 ENVIRONMENTAL PROTECTION                                 Air and Radiation Docket, Mail Code                      This action revises on an interim basis
                                                 AGENCY                                                   28221T, 1200 Pennsylvania Avenue                      the Good Neighbor Plan, which applies
                                                                                                          NW, Washington, DC 20460.                             to electricity generating units (EGUs)
                                                 40 CFR Parts 52 and 97                                      • Hand delivery or courier: EPA                    and non-EGU industrial sources. This
                                                 [EPA–HQ–OAR–2021–0668; FRL–8670.2–                       Docket Center, WJC West Building,                     action also revises other allowance
                                                 03–OAR]                                                  Room 3334, 1301 Constitution Avenue                   trading program regulations that apply
                                                                                                          NW, Washington, DC 20004. The Docket                  to EGUs but not to non-EGU industrial
                                                 Federal ‘‘Good Neighbor Plan’’ for the                   Center’s hours of operations are 8:30                 sources. The affected emissions sources
                                                 2015 Ozone National Ambient Air                          a.m.–4:30 p.m., Monday–Friday (except                 are generally in the following industry
                                                 Quality Standards; Response to                           federal holidays).                                    groups:
                                                 Judicial Stays of SIP Disapproval                           Comments received may be posted
                                                 Action for Certain States                                without change to https://                                                                                North American
                                                                                                                                                                                                                        Industry
                                                                                                          www.regulations.gov, including any                                 Industry group                          Classification
                                                 AGENCY: Environmental Protection
                                                                                                          personal information provided. For                                                                        System (NAICS)
                                                 Agency (EPA).                                            detailed instructions on sending                                                                                code
                                                 ACTION: Interim final rule; request for                  comments, see the ‘‘Public                            Fossil Fuel Electric Power Gen-
                                                 comment.                                                 Participation’’ heading of the                           eration ....................................              221112
                                                                                                          SUPPLEMENTARY INFORMATION section of                  Pipeline Transportation of Nat-
                                                 SUMMARY: The Environmental Protection                                                                             ural Gas .................................                  4862
                                                 Agency (EPA) is taking interim final                     this document.                                        Cement and Concrete Product
                                                 action to stay, for emissions sources in                 FOR FURTHER INFORMATION CONTACT:                         Manufacturing ........................                      3273
                                                                                                          David Lifland, Clean Air Markets                      Iron and Steel Mills and
                                                 Arkansas, Kentucky, Louisiana,                                                                                    Ferroalloy Manufacturing .......                            3311
                                                 Mississippi, Missouri, and Texas only,                   Division, Office of Atmospheric                       Glass and Glass Product Manu-
                                                 the effectiveness of the federal                         Protection, Office of Air and Radiation,                 facturing .................................                 3272
                                                 implementation plan (FIP) requirements                   U.S. Environmental Protection Agency,                 Basic Chemical Manufacturing ..                                3251
                                                                                                          Mail Code 6204A, 1200 Pennsylvania                    Petroleum and Coal Products
                                                 established to address the obligations of                                                                         Manufacturing ........................                      3241
                                                 these and other states to mitigate                       Avenue NW, Washington, DC 20460;                      Pulp, Paper, and Paperboard
                                                 interstate air pollution with respect to                 telephone: 202–343–9151; email:                          Mills ........................................              3221
                                                 the 2015 national ambient air quality                    lifland.david@epa.gov.                                Metal Ore Mining .......................                       2122
                                                                                                          SUPPLEMENTARY INFORMATION:                            Solid Waste Combustors and
                                                 standards (NAAQS) for ozone (the Good                                                                             Incinerators ............................                 562213
                                                 Neighbor Plan). The EPA is also revising                 I. General
                                                 certain other regulations to ensure that                                                                          The Good Neighbor Plan applies to
                                                 sources in these states will continue to                 A. Public Participation                               emissions sources in Alabama,
                                                 be subject to previously established                       Submit your written comments,                       Arkansas, California, Illinois, Indiana,
                                                 requirements to mitigate interstate air                  identified by Docket ID No. EPA–HQ–                   Kentucky, Louisiana, Maryland,
                                                 pollution with respect to other ozone                    OAR–2021–0668, at https://                            Michigan, Minnesota, Mississippi,
                                                 NAAQS while the Good Neighbor Plan’s                     www.regulations.gov (our preferred                    Missouri, Nevada, New Jersey, New
                                                 requirements are stayed. These revisions                 method), or by the other methods                      York, Ohio, Oklahoma, Pennsylvania,
                                                 will also ensure that the stay is limited                identified in the ADDRESSES section.                  Texas, Utah, Virginia, West Virginia,
                                                 to requirements for which the EPA does                   Once submitted, comments cannot be                    and Wisconsin. The portions of this
                                                 not currently have authority to                          edited or removed from the docket. The                action staying the Good Neighbor Plan’s
                                                 implement a FIP pending judicial                         EPA may publish any comment received                  requirements and revising other
                                                 review. The stay and the associated                      to its public docket. Do not submit to                allowance trading program regulations
                                                 revisions to other regulations are being                 the EPA’s docket at https://                          apply to sources in Arkansas, Kentucky,
                                                 issued in response to judicial orders that               www.regulations.gov any information                   Louisiana, Mississippi, Missouri, and
                                                 partially stay, pending judicial review, a               you consider to be Confidential                       Texas. The portions of this action
                                                 separate, earlier EPA action which                       Business Information (CBI), Proprietary               revising certain near-term deadlines
                                                 disapproved certain state                                Business Information (PBI), or other                  under the Good Neighbor Plan apply to
                                                 implementation plan (SIP) revisions                      information whose disclosure is                       emissions sources in the other listed
                                                 submitted by these and other states.                     restricted by statute. Multimedia
ddrumheller on DSK120RN23PROD with RULES1




                                                                                                                                                                states, for which the Good Neighbor
                                                 Finally, for states for which the Good                   submissions (audio, video, etc.) must be              Plan’s requirements are not being
                                                 Neighbor Plan’s requirements are not                     accompanied by a written comment.                     stayed.
                                                 being stayed, the EPA is revising three                  The written comment is considered the                    The information provided in this
                                                 near-term deadlines that are incorrect as                official comment and should include                   section on potentially affected entities is
                                                 published in the Good Neighbor Plan.                     discussion of all points you wish to                  not intended to be exhaustive. If you
                                                 DATES: This interim final rule is                        make. The EPA will generally not                      have questions regarding the
                                                 effective on August 4, 2023. Comments                    consider comments or comment                          applicability of this action to a


                                            VerDate Sep<11>2014   16:01 Jul 28, 2023   Jkt 259001   PO 00000   Frm 00029   Fmt 4700   Sfmt 4700   E:\FR\FM\31JYR1.SGM     31JYR1
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                                                 particular entity, consult the person                    Administrator signed a separate final                   additional states included in the Good
                                                 listed in the FOR FURTHER INFORMATION                    action promulgating a FIP, which is                     Neighbor Plan.
                                                 CONTACT section.                                         referred to here as the ‘‘Good Neighbor                    In each of the successive rulemakings
                                                                                                          Plan’’ or the ‘‘Rule.’’ 2 The Good                      to address good neighbor obligations
                                                 C. Statutory Authority                                                                                           with respect to an ozone NAAQS, the
                                                                                                          Neighbor Plan requires EGUs and non-
                                                   Statutory authority to issue the                       EGU industrial sources in the 21 states                 EPA has coordinated compliance
                                                 amendments finalized in this action is                   whose good neighbor SIPs the EPA had                    requirements by allowing the
                                                 provided by the same Clean Air Act                       disapproved in the SIP Disapproval                      participation of a state’s EGUs in the
                                                 (CAA) provisions that provided                           action (as well as two other states for                 most recent seasonal NOX trading
                                                 authority to issue the regulations being                 which the EPA had previously made                       program to also satisfy any requirements
                                                 amended: CAA section 110(a) and (c),                                                                             to participate in a previous seasonal
                                                                                                          findings of failure to submit good
                                                 42 U.S.C. 7410(a) and (c) (SIP and FIP                                                                           NOX trading program established to
                                                                                                          neighbor SIPs) to reduce their emissions
                                                 requirements, including requirements                                                                             address the state’s good neighbor
                                                                                                          of nitrogen oxides (NOX) during the
                                                 for mitigation of interstate air pollution),                                                                     obligations with respect to a less
                                                 and CAA section 301, 42 U.S.C. 7601                      May-September ‘‘ozone season’’ to
                                                                                                                                                                  protective NAAQS.7 Because of the
                                                 (general rulemaking authority).                          address the states’ good neighbor
                                                                                                                                                                  EPA’s coordination efforts, for 19 of the
                                                 Statutory authority for the rulemaking                   obligations with respect to the 2015
                                                                                                                                                                  states covered by the Good Neighbor
                                                 procedures followed in this action is                    ozone NAAQS.3 The Good Neighbor                         Plan as signed, including Arkansas,
                                                 provided by Administrative Procedure                     Plan was published in the Federal                       Kentucky, Louisiana, Mississippi,
                                                 Act (APA) section 553, 5 U.S.C. 553.                     Register on June 5, 2023, and its                       Missouri, and Texas, participation of the
                                                                                                          requirements will be phased in over                     state’s EGUs in the Group 3 trading
                                                 II. Regulatory Revisions                                 several years starting on the Rule’s                    program not only serves as the
                                                 A. Response to Stay Orders                               August 4, 2023, effective date.                         mechanism for partially addressing the
                                                 1. Background and Summary                                   To implement the required emissions                  states’ good neighbor obligations with
                                                                                                          reductions from EGUs, the Good                          respect to the 2015 ozone NAAQS, but
                                                    CAA section 110(a)(2)(D)(i)(I), also                  Neighbor Plan uses an emissions                         also serves as the mechanism for
                                                 known as the ‘‘good neighbor’’                           allowance trading program. The EPA                      addressing the states’ good neighbor
                                                 provision, requires each state’s SIP to                  has previously established three                        obligations with respect to the 2008
                                                 include provisions sufficient to                         successive allowance trading programs                   ozone NAAQS.8 For eight of the states,
                                                 ‘‘prohibit[ ], consistent with the                       for EGUs’ seasonal NOX emissions to                     including Arkansas, Kentucky,
                                                 provisions of this subchapter, any                       address states’ good neighbor                           Louisiana, Mississippi, and Missouri,
                                                 source or other type of emissions                        obligations with respect to the 1997 and                participation of the states’ EGUs in the
                                                 activity within the State from emitting                  2008 ozone NAAQS—referred to here as                    Group 3 trading program serves as the
                                                 any air pollutant in amounts which                                                                               mechanism for addressing the states’
                                                                                                          the CSAPR NOX Ozone Season ‘‘Group
                                                 will—(I) contribute significantly to                                                                             good neighbor obligations with respect
                                                                                                          1,’’ ‘‘Group 2,’’ and ‘‘Group 3’’ trading
                                                 nonattainment in, or interfere with                                                                              to the 1997 ozone NAAQS as well.9
                                                                                                          programs—in the Cross-State Air
                                                 maintenance by, any other State with                                                                                Petitioners challenging the SIP
                                                                                                          Pollution Rule (CSAPR),4 the CSAPR
                                                 respect to any [NAAQS].’’ The EPA                                                                                Disapproval action have filed motions
                                                 often refers to the emissions reduction                  Update,5 and the Revised CSAPR
                                                                                                          Update,6 respectively. The Good                         in several courts for partial stays of that
                                                 requirements under this provision as                                                                             action with respect to the SIPs
                                                 ‘‘good neighbor obligations’’ and                        Neighbor Plan does not establish a new
                                                                                                          emissions trading program, but instead                  submitted by particular states.
                                                 submissions addressing these                                                                                     Subsequent to the Good Neighbor Plan’s
                                                 requirements as ‘‘good neighbor SIPs.’’                  modifies the Group 3 trading program
                                                                                                          initially established in the Revised                    signature date, courts have granted some
                                                    CAA section 110(c)(1) requires the                                                                            of these motions. On May 1 and June 8,
                                                 EPA Administrator to promulgate a FIP                    CSAPR Update and expands the
                                                                                                                                                                  2023, the U.S. Court of Appeals for the
                                                 at any time within two years after the                   program to apply to EGUs in the
                                                                                                                                                                  Fifth Circuit issued orders staying the
                                                 Administrator: (i) finds that a state has                                                                        SIP Disapproval action with respect to
                                                 failed to make a required SIP                               2 Federal ‘‘Good Neighbor Plan’’ for the 2015
                                                                                                                                                                  Louisiana, Mississippi, and Texas
                                                 submission; (ii) finds a SIP submission                  Ozone National Ambient Air Quality Standards, 88
                                                                                                          FR 36654 (June 5, 2023).                                pending judicial review on the merits.10
                                                 to be incomplete pursuant to CAA                            3 See generally id. The Good Neighbor Plan’s         On May 25 and 26, 2023, the U.S. Court
                                                 section 110(k)(1)(C); or (iii) disapproves               requirements for EGUs apply in 22 of the 23             of Appeals for the Eighth Circuit issued
                                                 a SIP submission. This obligation                        covered states, while the requirements for non-EGU      orders staying the SIP Disapproval
                                                 applies unless the state corrects the                    industrial sources apply in 20 of the 23 covered
                                                                                                          states.
                                                                                                                                                                  action with respect to Arkansas and
                                                 deficiency through a SIP revision that                      4 Federal Implementation Plans: Interstate           Missouri pending judicial review on the
                                                 the Administrator approves before the                    Transport of Fine Particulate Matter and Ozone and      merits.11 On May 31, 2023, the U.S.
                                                 FIP is promulgated.                                      Correction of SIP Approvals, 76 FR 48208 (August        Court of Appeals for the Sixth Circuit
                                                    On February 13, 2023, the EPA                         8, 2011). CSAPR addressed states’ good neighbor         issued an order administratively staying
                                                 published a final action fully or                        obligations with respect to the 1997 ozone NAAQS,
                                                                                                          as well as the 1997 and 2006 NAAQS for fine             the SIP Disapproval action with respect
                                                 partially disapproving good neighbor
                                                                                                          particulate matter.
                                                 SIPs submitted by 21 states with respect                    5 Cross-State Air Pollution Rule Update for the        7 See, e.g., 81 FR 74509; 86 FR 23122.
                                                 to the 2015 ozone NAAQS (the SIP                         2008 Ozone NAAQS, 81 FR 74504 (October 26,                8 See 88 FR 36844.

                                                 Disapproval action).1 Consistent with                    2016). The CSAPR Update addressed states’ good            9 See id.
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                                                 the requirements of CAA section                          neighbor obligations with respect to the 2008 ozone        10 Order, Texas v. EPA, No. 23–60069 (5th Cir.
                                                                                                          NAAQS.                                                  May 1, 2023); Order, Texas v. EPA, No. 23–60069
                                                 110(c)(1), following the SIP Disapproval                    6 Revised Cross-State Air Pollution Rule Update      (5th Cir. June 8, 2023). The orders are available in
                                                 action, on March 15, 2023, the EPA                       for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,        the docket.
                                                                                                          2021). The Revised CSAPR Update readdressed                11 Order, Arkansas v. EPA, No. 23–1320 (8th Cir.
                                                   1 Air Plan Disapprovals; Interstate Transport of       states’ good neighbor obligations with respect to the   May 25, 2023); Order, Missouri v. EPA, No. 23–1719
                                                 Air Pollution for the 2015 8-Hour Ozone National         2008 ozone NAAQS in response to the remand of           (8th Cir. May 26, 2023); Order, Union Electric Co.
                                                 Ambient Air Quality Standards, 88 FR 9336                the CSAPR Update in Wisconsin v. EPA, 938 F.3d          v. EPA, No. 23–1751 (8th Cir. May 26, 2023). The
                                                 (February 13, 2023).                                     303 (D.C. Cir. 2019).                                   orders are available in the docket.



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                                                 to Kentucky pending review of                            to the 2015 ozone NAAQS, but also to                   program, the revisions in this action
                                                 Kentucky’s stay motion.12                                preserve status quo requirements                       establish two non-interchangeable
                                                    The EPA’s authority under CAA                         established in previous rulemakings to                 subtypes of Group 2 allowances: CSAPR
                                                 section 110(c)(1) to establish the Good                  address their states’ good neighbor                    NOX Ozone Season Original Group 2
                                                 Neighbor Plan’s FIP requirements for                     obligations with respect to the 2008 and               allowances and CSAPR NOX Ozone
                                                 the sources in a given state is triggered                1997 ozone NAAQS.                                      Season Expanded Group 2 allowances.15
                                                 by either the EPA’s disapproval of the                      Thus, the EPA in this action is                     EGUs in Arkansas, Mississippi,
                                                 state’s good neighbor SIP with respect to                revising the Good Neighbor Plan FIP                    Missouri, and Texas, which would have
                                                 the 2015 ozone NAAQS or the EPA’s                        requirements and the regulations for the               been covered by the Group 2 trading
                                                 finding of the state’s failure to submit                 Group 2 trading program to require the                 program in the absence of the Good
                                                 such a SIP. Accordingly, as a result of                  EGUs in each state covered by a stay                   Neighbor Plan, will use Original Group
                                                 the orders partially staying the SIP                     order for the SIP Disapproval action to                2 allowances for compliance (as will
                                                 Disapproval action, the EPA must act to                  participate in the Group 2 trading                     EGUs in Iowa, Kansas, and Tennessee,
                                                 ensure that the Good Neighbor Plan’s                     program instead of the Group 3 trading                 which are not covered by the Good
                                                 requirements that were issued to                         program while the stay for that state                  Neighbor Plan and remain in the Group
                                                 address good neighbor obligations with                   remains in place. A small number of                    2 trading program). EGUs in Kentucky
                                                 respect to the 2015 ozone NAAQS and                      conforming revisions are also being                    and Louisiana, which would have been
                                                 that apply to either EGUs or non-EGU                     made to the regulations for the Group 1                covered by the Group 3 trading program
                                                 industrial sources in each of the states                 and Group 3 trading programs.                          in the absence of the Good Neighbor
                                                 for which a stay order has been issued                   Together, the revisions preserve the                   Plan, will use Expanded Group 2
                                                 will not take effect while the stay of the               status quo by making the trading                       allowances for compliance. The
                                                 SIP Disapproval action as to that state                  program requirements that will apply to                requirements to use different subtypes
                                                 remains in place. To ensure full                         the EGUs in each state for which the SIP               of Group 2 allowances will preserve the
                                                 compliance with the stay orders, the                     Disapproval action has been stayed                     status quo distinction between these
                                                 EPA is also staying these requirements                   substantively identical to the trading                 two sets of EGUs that already existed
                                                 for sources in Indian country located                    program requirements that would have                   before the Good Neighbor Plan and that
                                                 within the borders of a state covered by                 applied to the EGUs in that state if the               continues to exist with the stay of the
                                                 a stay order, including areas of Indian                  state had not been covered by the Good                 Good Neighbor Plan as to these states,
                                                 country not subject to the state’s SIP                   Neighbor Plan. The revisions to the                    because the allowances that EGUs in
                                                 authority.13 However, as noted earlier in                trading program regulations are                        Kentucky and Louisiana have used for
                                                 this section, the Group 3 trading                        summarized in the remainder of this                    compliance under the Group 3 trading
                                                 program is also the mechanism to                         section and are discussed in detail in                 program as promulgated in the Revised
                                                 implement requirements previously                        section II.A.2 of this document.14                     CSAPR Update are not interchangeable
                                                 established for EGUs in most of the                         First, for EGUs in Arkansas,                        with the allowances that EGUs in the
                                                 covered states to address the states’                    Mississippi, Missouri, and Texas, which                other states have used for compliance
                                                 good neighbor obligations with respect                   before the Good Neighbor Plan were                     under the Group 2 trading program.
                                                 to the 2008 ozone NAAQS and, in some                     covered by the Group 2 trading program                    The amendments to the regulatory
                                                 cases, the 1997 ozone NAAQS. The SIP                     as promulgated in the CSAPR Update                     requirements for EGUs and non-EGU
                                                 Disapproval action was not a basis for                   rather than the Group 3 trading                        industrial sources that the EPA is
                                                 the authority relied on by the EPA in the                program, the revisions in this action                  finalizing in this action in response to
                                                 previous rulemakings to establish                        restore the state emissions budgets, unit-             the stay orders are being made on an
                                                 emissions reduction requirements with                    level allowance allocation provisions,                 interim basis and will remain in place
                                                 respect to the 2008 or 1997 ozone                        and banked allowance holdings that                     while the judicial proceedings in which
                                                 NAAQS, and the stay orders do not                        would have been in effect for the EGUs                 the stay orders were issued remain
                                                 affect these pre-existing requirements.                  in these states under the Group 2                      pending. After the courts have reached
                                                 The EPA’s authority for the rulemakings                  trading program in the absence of the                  final determinations on the merits in
                                                 addressing the 2008 and 1997 ozone                       Good Neighbor Plan.                                    those proceedings, the EPA will take
                                                 NAAQS remains in place. Implementing                        Second, for EGUs in Kentucky and                    further action consistent with the final
                                                 the stay orders therefore requires the                   Louisiana, which before the Good                       determinations. At the time of this
                                                 EPA not only to stay the new                             Neighbor Plan were already covered by                  rulemaking, the EPA cannot predict
                                                 requirements established for EGUs and                    the Group 3 trading program as                         how the Agency’s future action may
                                                 non-EGU industrial sources in the Good                   promulgated in the Revised CSAPR                       affect the amendments being finalized
                                                 Neighbor Plan to address their states’                   Update, the revisions in this action                   in this action.
                                                 good neighbor obligations with respect                   modify the Group 2 and Group 3 trading                 2. Specific Regulatory Revisions
                                                                                                          program regulations so as to establish
                                                   12 Order, Kentucky v. EPA, No. 23–3216 (6th Cir.
                                                                                                          under the Group 2 trading program the                     The regulatory revisions to 40 CFR
                                                 May 31, 2023), available in the docket.                                                                         part 52 that are being adopted in this
                                                   13 For sources in areas of Indian country not          state emissions budgets, unit-level
                                                 subject to the SIP authority of the states within        allowance allocation provisions, and                   action to implement the orders staying
                                                 whose borders the areas of Indian country are            banked allowance holdings that would                   the SIP Disapproval action for non-EGU
                                                 located, the EPA issued the Good Neighbor Plan’s         have been in effect for the EGUs in these              industrial sources in Arkansas,
                                                 requirements not under authority of CAA section                                                                 Kentucky, Louisiana, Mississippi,
                                                 110(c)(1) but under authority of CAA section             states under the Group 3 trading
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                                                 301(d)(4). See 88 FR 36690–92. However, because          program in the absence of the Good                     Missouri, and Texas and Indian country
                                                 the EPA exercised its authority under CAA section        Neighbor Plan.
                                                 301(d)(4) only with respect to areas of Indian                                                                    15 The non-interchangeability will be
                                                                                                             Finally, for EGUs in all states that will
                                                 country within the borders of states for which                                                                  automatically enforced through the use of different
                                                 requirements were being issued under CAA section         now be covered by the Group 2 trading                  codes for the two subtypes of Group 2 allowances
                                                 110(c)(1), id. at 36692, these areas of Indian country                                                          in the EPA’s Allowance Management System,
                                                 are indirectly implicated by the orders partially          14 The EPA has included documents in the docket      where all allowance allocations, transfers, and
                                                 staying the SIP Disapproval action for the respective    that show all the regulatory revisions being adopted   deductions under the Group 2 trading program are
                                                 states.                                                  in this action in redline-strikeout format.            recorded.



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                                                 within the borders of those states                           • The revision of text at §§ 97.806(c),                Group 3 allowances and recalling
                                                 include the addition of text at                           97.824(a) and (d), and 97.825(a) to                       previously allocated 2023–2024 Original
                                                 § 52.40(c)(4) to stay the effectiveness of                provide for EGUs in states covered by                     Group 2 allowances.
                                                 the Good Neighbor Plan’s requirements                     stay orders and covered by the Group 3                       • The revision of text at §§ 97.816(c),
                                                 for non-EGU industrial sources at                         trading program before 2023 to use                        97.818(f), and 97.820(c)(1)(iv), (c)(2)(iv),
                                                 §§ 52.41 through 52.46 and the                            Expanded Group 2 allowances for                           and (c)(5)(vi) to include the transition of
                                                 remainder of § 52.40 for states covered                   compliance and for EGUs in other states                   states from the Group 3 trading program
                                                 by stay orders and the addition of                        covered by the Group 2 trading program                    to the Group 2 trading program in the
                                                 parallel text in the state-specific                       to use Original Group 2 allowances for                    provisions that allow the EPA to treat
                                                 subparts of part 52 for each of the                       compliance, with conforming revisions                     certain certifications, applications, and
                                                 states.16                                                 at § 52.38(b)(14).                                        notices of delegation as valid despite the
                                                    The regulatory revisions to 40 CFR                        • The revision of text at § 97.810(a)                  use of terminology intended for use
                                                 parts 52 and 97 that are being adopted                    and (b) to provide EGUs in states                         under a different trading program.
                                                 in this action to implement the orders                    covered by stay orders the same                              • The revision of text at §§ 97.526(e)
                                                 staying the SIP Disapproval action for                    amounts for state emissions budgets,                      and 97.826(f) and the addition of text at
                                                 EGUs in Arkansas, Kentucky, Louisiana,                    new unit set-asides, Indian country new                   § 97.1026(f) to include the transition of
                                                 Mississippi, Missouri, and Texas and                      unit set-asides, and variability limits                   states from the Group 3 trading program
                                                 Indian country within the borders of                      that would have applied under the                         to the Group 2 trading program in the
                                                 those states while ensuring continued                     Group 2 trading program or the Group                      provisions that specify when and how
                                                 implementation of requirements                            3 trading program, as applicable for the                  an EGU in a state that has moved
                                                 established to address good neighbor                      state, in the absence of the Good                         between trading programs may use
                                                 obligations under rules promulgated                       Neighbor Plan.                                            allowances from a later trading program
                                                 before the Good Neighbor Plan include                        • The revision of text at § 97.811(a)(2)               to meet surrender requirements for past
                                                 the following:                                            and § 97.821(e) to provide EGUs in                        control periods under a previous trading
                                                    • The addition of text at                              states covered by stay orders the same                    program, with conforming revisions at
                                                 § 52.38(b)(2)(iii)(D) to stay the                         unit-level allocation and recordation                     § 52.38(b)(14).
                                                 effectiveness of the Good Neighbor                        provisions that would have applied                           • The revision of text at
                                                 Plan’s requirements at                                    under the Group 2 trading program or                      § 97.526(d)(2)(ii) and 97.826(d)(3) to
                                                 § 52.38(b)(2)(iii)(A) and (B) for EGUs to                 the Group 3 trading program, as                           include the conversion of Group 3
                                                 participate in the enhanced Group 3                       applicable for the state, in the absence                  allowances to Expanded Group 2
                                                 trading program for control periods after                 of the Good Neighbor Plan.19                              allowances in the provisions that
                                                 2022 for states covered by stay orders,                      • The revision of text at                              address future conversions of
                                                 the addition of text at § 52.38(b)(2)(ii)(D)              §§ 97.830(b)(1) and 97.834(d)(2)(i) to                    allowances that were allocated for past
                                                                                                           provide EGUs in states that were                          control periods under a given trading
                                                 to require those EGUs to participate in
                                                                                                           covered by the Group 3 trading program                    program to an EGU in a state no longer
                                                 the Group 2 trading program while that
                                                                                                           before 2023 the same deadlines for                        covered by that trading program, where
                                                 stay remains in place, and the addition
                                                                                                           commencement of monitoring and                            the allowances would have been
                                                 of parallel text in the state-specific
                                                                                                           reporting activities that would have                      included in a previous conversion to a
                                                 subparts of part 52 for each of the
                                                                                                           applied in the absence of the Good                        different type of allowances if the
                                                 states.17
                                                                                                           Neighbor Plan.                                            allocations had been recorded before the
                                                    • The revision of text at                                 • The addition of text at § 97.1026(e)
                                                 § 52.38(b)(16)(ii)(B) to provide for                                                                                previous conversion took place.
                                                                                                           to provide for the conversion of banked
                                                 continued administration by the EPA                       2021–2022 Group 3 allowances held by                      B. Deadline Corrections
                                                 after 2022, for states covered by stay                    EGUs in states that that were covered by                     In addition to the regulatory revisions
                                                 orders, of state Group 2 trading                          the Group 3 trading program before                        described in section II.A of this
                                                 programs integrated with the federal                      2023 into Expanded Group 2                                document that are being made on an
                                                 Group 2 trading program under                             allowances, with conforming revisions                     interim basis in response to judicial stay
                                                 approved SIP revisions.18                                 at §§ 97.502, 97.802, 97.1002, 97.824(c),                 orders, in this action the EPA is also
                                                    • The revision and addition of text at                                                                           permanently revising three near-term
                                                                                                           and 52.38(b)(14).
                                                 § 97.802 to define ‘‘Original’’ and                          • The revision of text at                              deadlines that are incorrect in the Good
                                                 ‘‘Expanded’’ subtypes of CSAPR NOX                        §§ 97.811(e)(1) and 97.826(e)(1) to                       Neighbor Plan as published in the
                                                 Ozone Season Group 2 allowances, with                     exclude EGUs in states covered by stay                    Federal Register. Unlike the revisions
                                                 conforming revisions and additions at                     orders from the Good Neighbor Plan’s                      described in section II.A of this
                                                 §§ 97.502, 97.1002, 97.811(d) and (e),                    provisions converting banked 2017–                        document, these revisions apply to
                                                 97.821(e), 97.526(d) and (e), 97.826(d)                   2022 Original Group 2 allowances into                     emissions sources in the states whose
                                                 through (f), and 52.38(b)(14).                                                                                      coverage under the Good Neighbor Plan
                                                   16 See §§ 52.184(b)(2) (Arkansas), 52.940(c)(2)
                                                                                                              19 For sources in states that were not covered by
                                                                                                                                                                     is not affected by a stay order.
                                                                                                           the Group 3 trading program before the Good                  The first deadline correction concerns
                                                 (Kentucky), 52.984(e)(2) (Louisiana), 52.1284(b)(2)       Neighbor Plan, the applicable notice of data
                                                 (Mississippi), 52.1326(c)(2) (Missouri), and              availability (NODA) referenced in revised
                                                                                                                                                                     a quarterly reporting deadline
                                                 52.2283(e)(2) (Texas).                                    § 97.811(a)(2)(i) as identifying the unit-level           applicable to EGUs in states that were
                                                    17 See §§ 52.184(a)(6) (Arkansas), 52.940(b)(6)
                                                                                                           allocations of Original Group 2 allowances to             already covered by the Group 2 trading
                                                 (Kentucky), 52.984(d)(6) (Louisiana), 52.1284(a)(6)       existing units will be the NODA published at 81 FR        program or the Group 3 trading program
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                                                 (Mississippi), 52.1326(b)(6) (Missouri), and              67190 (September 30, 2016) to implement the
                                                 52.2283(d)(6) (Texas).                                    CSAPR Update. For sources in states that were
                                                                                                                                                                     before the 2023 ozone season. As
                                                    18 This revision ensures that Missouri’s good          covered by the Group 3 trading program before the         explained in the Good Neighbor Plan
                                                 neighbor obligations with respect to the 2008 and         Good Neighbor Plan, the applicable NODA                   preamble, these EGUs will participate in
                                                 1997 NAAQS can continue to be met through the             referenced in revised § 97.811(a)(2)(ii) as identifying   the revised Group 3 trading program for
                                                 participation of the state’s EGUs in the state Group      the unit-level allocations of Expanded Group 2
                                                 2 trading program adopted by the state and                allowances to existing units will be the NODA
                                                                                                                                                                     the entire 2023 ozone season, subject to
                                                 included in the SIP revision that was approved by         published at 86 FR 26719 (May 17, 2021) to                transitional provisions ensuring that the
                                                 the EPA at 84 FR 66316 (December 4, 2019).                implement the Revised CSAPR Update.                       only substantive new regulatory


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                                                 requirements in 2023—specifically, the                   However, a separate regulatory                           from notice-and-comment requirements
                                                 emissions control stringencies reflected                 provision incorrectly identifies the                     applies here.
                                                 in the revised Group 3 trading program’s                 ending date of the first calendar quarter                   The EPA finds good cause to forgo
                                                 state emissions budgets and assurance                    for which these EGUs must submit                         notice-and-comment procedures
                                                 levels—will take effect only after the                   quarterly reports under the Group 3                      because such procedures are both
                                                 Rule’s effective date.20 The Group 3                     trading program as June 30, 2023. The                    impracticable and unnecessary for this
                                                 trading program’s deadline for EGUs to                   EPA is amending 40 CFR                                   action. First, following notice-and-
                                                 submit quarterly reports of emissions                    97.1034(d)(2)(i)(C) to indicate the                      comment procedures is impracticable
                                                 and operating data for the first two                     correct quarterly ending date of                         for the portions of this action
                                                 months of the May–September ozone                        September 30, 2023. The deadline for                     responding to the stay orders because
                                                 season in 2023 would normally have                       EGUs to submit quarterly reports for this                such procedures would require more
                                                 been July 31, 2023 (the first business                   calendar quarter will be October 30,                     time than is available. The earliest stay
                                                 day at least 30 days after the end of the                2023.                                                    order to which the EPA must respond in
                                                 second calendar quarter), but the timing                    The third deadline correction                         this action was issued on May 1, 2023,
                                                 of publication in the Federal Register                   concerns a deadline for submission of                    just over three months before the Good
                                                 caused the Good Neighbor Plan’s                          initial notifications applicable to                      Neighbor Plan’s upcoming effective date
                                                 effective date to fall four days after this              furnaces in the Glass and Glass Product                  on August 4, 2023, which is the date by
                                                 date, on August 4, 2023. Accordingly,                    Manufacturing industry that are subject                  which this action responding to the stay
                                                 the EPA is extending the deadline in 40                  to requirements under the Good                           order must be effective. The most recent
                                                 CFR 97.1034(d)(3) by which EGUs                          Neighbor Plan. Because of a                              of the subsequent stay orders to which
                                                 subject to the Group 3 trading program                   typographical error in the document                      the EPA’s action must also respond was
                                                 must submit quarterly reports for this                   submitted for publication in the Federal                 issued less than two months before the
                                                 calendar quarter to August 4, 2023.21                    Register,the Rule as published                           Rule’s upcoming effective date. The
                                                 Further, because the quarterly reports                   incorrectly specifies a submission                       EPA does not consider even the
                                                 required under the Group 3 trading                       deadline of June 23, 2023 (the first                     maximum three-month period sufficient
                                                 program are consolidated with the                        business day at least 18 days after the                  time in which to conduct a notice-and-
                                                 quarterly reports required under several                 Rule’s publication date). The EPA is                     comment rulemaking encompassing the
                                                 other EPA programs, the EPA is also                      amending 40 CFR 52.44(j)(2) to specify                   time to, at a minimum, evaluate possible
                                                 amending 40 CFR 97.1034(d)(4) to                         the intended submission deadline of                      actions for responding to the stay
                                                 similarly extend these EGUs’ reporting                   December 4, 2023 (the first business day                 orders, prepare and publish a proposal
                                                 deadlines under the other programs.                      at least 180 days after the Rule’s                       describing the action identified through
                                                    The second deadline correction                        publication date).                                       that evaluation, wait for comments on
                                                 concerns a quarterly reporting deadline                                                                           the proposal, review the comments
                                                                                                          III. Rulemaking Procedures and
                                                 applicable to EGUs in states that were                                                                            received, and prepare and publish a
                                                                                                          Findings of Good Cause
                                                 not already covered by the Group 2                                                                                final rule and response to comments. It
                                                 trading program or the Group 3 trading                      As noted in section I.C of this                       is not possible for all of these steps to
                                                 program before the 2023 ozone season.                    document, the EPA’s authority for the                    be completed within a three-month
                                                 EGUs in these states will begin to                       rulemaking procedures followed in this                   period for this action.
                                                 participate in the Group 3 trading                       action is provided by APA section                           Second, following notice-and-
                                                 program as of the Good Neighbor Plan’s                   553.23 In general, an agency issuing a                   comment procedures is unnecessary for
                                                 effective date, and the regulations as                   rule under the procedures in APA                         this action. With respect to the portions
                                                 published in the Rule correctly provide                  section 553 must provide prior notice                    of this action that respond to the stay
                                                 that most of these EGUs will be subject                  and an opportunity for public comment,                   orders, the EPA has no discretion as to
                                                 to the program’s monitoring and                          but APA section 553(b)(B) includes an                    the regulatory revisions that stay the
                                                 reporting requirements for emissions                     exemption from notice-and-comment                        effectiveness of the Good Neighbor
                                                 occurring on and after August 4, 2023.22                 requirements ‘‘when the agency for good                  Plan’s requirements for sources in the
                                                                                                          cause finds (and incorporates the                        states covered by stay orders. While
                                                   20 See 88 FR 36775–76; 88 FR 36811–13.                 finding and a brief statement of reasons                 some superficial discretion exists
                                                    21 All the EGUs that are required under the Good      therefor in the rule issued) that notice                 concerning the specific design of the
                                                 Neighbor Plan to submit quarterly reports for the        and public procedure thereon are                         regulatory revisions that provide an
                                                 second calendar quarter of 2023 already participate
                                                 in either the Group 2 trading program or the Group
                                                                                                          impracticable, unnecessary, or contrary                  alternate mechanism for EGUs in states
                                                 3 trading program and therefore have already             to the public interest.’’ This action is                 covered by the stay orders to continue
                                                 installed and certified the necessary monitoring         being issued as an interim final rule                    to address the states’ good neighbor
                                                 systems. The data elements of the quarterly reports      without prior notice or opportunity for                  obligations with respect to the 2008 and
                                                 that these EGUs are required to submit under the
                                                 Group 3 trading program for their ozone season
                                                                                                          public comment because the EPA finds                     1997 NAAQS, no discretion exists as to
                                                 emissions in 2023 are identical to the data elements     that the APA ‘‘good cause’’ exemption                    the function of that design, which is to
                                                 of the quarterly reports that the EGUs were required                                                              maintain the status quo by
                                                 to submit under the Group 2 trading program or           program, the deadline to begin monitoring and            implementing requirements that are
                                                 Group 3 trading program for their ozone season           reporting under the Group 3 trading program will
                                                 emissions in 2022 and previous years.                    be either January 31, 2024 (180 days after the Rule’s
                                                                                                                                                                   substantively identical to the pre-
                                                    22 See 40 CFR 97.1030(b)(1)(iii). Most EGUs           effective date), for units that report on a year-round   existing requirements that would have
                                                 covered under the Good Neighbor Plan that do not         basis, or May 1, 2024, for units that report on an       continued to apply in the absence of the
                                                                                                          ozone season-only basis. See 40 CFR
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                                                 already participate in the Group 2 trading program                                                                Good Neighbor Plan. The EPA’s design
                                                 or the Group 3 trading program are already subject       97.1030(b)(1)(iv) and (b)(3).
                                                 to closely related monitoring and reporting                 23 Under CAA section 307(d)(1)(B), the EPA’s
                                                                                                                                                                   for the regulatory revisions in this
                                                 requirements under other EPA programs and                revision of a FIP under CAA section 110(c) would         action accomplishes this function.
                                                 consequently have already installed and certified        normally be subject to the rulemaking procedural         Taking comment on the portions of the
                                                 the monitoring systems necessary to monitor and          requirements of CAA section 307(d), including            action that respond to the stay orders so
                                                 report under the Group 3 trading program. For the        notice-and-comment procedures, but CAA section
                                                 small number of EGUs in these states that have not       307(d) does not apply ‘‘in the case of any rule or
                                                                                                                                                                   as to allow the public to advocate for
                                                 already been required to install and certify the         circumstance referred to in subparagraphs (A) or (B)     not staying the Good Neighbor Plan’s
                                                 necessary monitoring systems under another EPA           of [APA section 553(b)].’’ CAA section 307(d)(1).        requirements, not adopting regulatory


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                                                 revisions needed to implement                            certain states grant an exemption (on an              IV. Request for Comment
                                                 requirements that are substantively                      interim basis while the stay remains in                 As explained in section III of this
                                                 identical to the requirements that would                 place), the normal 30-day minimum                     document, the EPA finds good cause to
                                                 have applied in the absence of the Good                  period between this action’s dates of                 take this interim final action without
                                                 Neighbor Plan, or adopting superficially                 publication and effectiveness is not                  prior notice or opportunity for public
                                                 different regulatory revisions to                        required. The EPA is making these                     comment. However, the EPA is
                                                 accomplish the same function would                       portions of the action effective as of the            providing an opportunity for comment
                                                 serve no purpose and is therefore                        Good Neighbor Plan’s effective date to                on the content of the amendments. The
                                                 unnecessary.24                                           comply with the stay orders.                          EPA requests comment on this rule. The
                                                    With respect to the portions of this                                                                        EPA is not reopening for comment any
                                                                                                             Under APA section 553(d)(3), the
                                                 action that correct deadlines, each of the                                                                     provisions of the Good Neighbor Plan,
                                                                                                          normal 30-day minimum period
                                                 deadlines that is incorrect as published                                                                       40 CFR part 52, or 40 CFR part 97 other
                                                                                                          between a rule’s dates of publication
                                                 in the Good Neighbor Plan precedes the                                                                         than the specific provisions that are
                                                                                                          and effectiveness does not apply ‘‘as
                                                 Rule’s actual effective date and therefore                                                                     expressly added or amended in this
                                                                                                          otherwise provided by the agency for
                                                 could not be implemented as published.                                                                         rule.
                                                                                                          good cause found and published with
                                                 In the cases of the two deadlines that
                                                                                                          the rule.’’ With respect to the portions              V. Statutory and Executive Order
                                                 were incorrect as published because of
                                                                                                          of this action that provide an alternate              Reviews
                                                 the timing of the Rule’s publication, the
                                                                                                          mechanism for EGUs in states covered
                                                 amended deadlines of August 4, 2023,                                                                             Additional information about these
                                                 and September 30, 2023, are the earliest                 by the stay orders to continue to address
                                                                                                          the states’ good neighbor obligations                 statutes and Executive Orders can be
                                                 possible revised deadlines that are both                                                                       found at www.epa.gov/laws-regulations/
                                                 feasible in light of the Good Neighbor                   under rules issued before the Good
                                                                                                          Neighbor Plan and the portions of this                laws-and-executive-orders.
                                                 Plan’s actual effective date and also
                                                 consistent with the normal timing and                    action that correct certain deadlines, the            A. Executive Order 12866: Regulatory
                                                 sequence of monitoring and reporting                     EPA finds good cause to make the                      Planning and Review, as Amended by
                                                 activities under the Group 3 trading                     regulatory revisions effective on August              Executive Order 14094: Modernizing
                                                 program regulations. In the case of the                  4, 2023, the effective date of the Good               Regulatory Review
                                                 deadline that was incorrect as published                 Neighbor Plan, even though that date is                 This action is not a significant
                                                 because of a typographical error, the                    less than 30 days after the publication               regulatory action as defined in
                                                 amended deadline of December 4, 2023,                    date of this action, for the following                Executive Order 12866, as amended by
                                                 is the same deadline that has already                    reasons. First, the regulatory revisions              Executive Order 14094, and was
                                                 been published in parallel provisions of                 that facilitate continued implementation              therefore not subject to a requirement
                                                 the Good Neighbor Plan’s regulations for                 of requirements addressing good                       for Executive Order 12866 review.
                                                 other non-EGU industrial sources.25                      neighbor obligations under previous
                                                 Because both the need for the                            rules benefit the public by avoiding the              B. Paperwork Reduction Act (PRA)
                                                 corrections and the specific corrections                 possibility that interruption of the                    This action does not impose any new
                                                 that should be made are clear, taking                    requirements would cause air quality                  information collection burden under the
                                                 comment to allow the public to                           degradation. Second, both these                       Paperwork Reduction Act (PRA), 44
                                                 advocate for not correcting the                          regulatory revisions and the regulatory               U.S.C. 3501 et seq. The Office of
                                                 deadlines or for making different                        revisions that correct deadlines benefit              Management and Budget (OMB) has
                                                 corrections would serve no purpose and                   the regulated community by clarifying                 previously approved the information
                                                 is therefore unnecessary.                                the regulatory requirements that apply                collection activities that will apply to
                                                    The regulatory revisions made in this                 in light of the stay orders and the timing            the EGUs affected by this action and has
                                                 action will take effect on August 4,                     of publication of the Good Neighbor                   assigned OMB control numbers 2060–
                                                 2023, the effective date of the Good                     Plan. Finally, making the regulatory                  0258 and 2060–0667. Additional
                                                 Neighbor Plan. In general, an agency                     revisions effective less than 30 days                 information collection activities that
                                                 issuing a rule under APA section 553                     after this action’s publication date does             will apply to EGUs and non-EGU
                                                 must provide for a period of at least 30                 not violate the purpose of the normal                 industrial sources under the Good
                                                 days between the rule’s dates of                         requirement for a 30-day minimum                      Neighbor Plan have been submitted to
                                                 publication and effectiveness, but APA                   period, which is ‘‘to give affected parties           OMB for approval in conjunction with
                                                 section 553(d) includes several                          a reasonable time to adjust their                     that rulemaking. This action makes no
                                                 exceptions. Under APA section                            behavior before the final rule takes                  changes to the information collection
                                                 553(d)(1), an exception applies to a rule                effect.’’ 26 The regulatory revisions in              activities under the previously approved
                                                 that ‘‘grants or recognizes an exemption                 this action facilitating continued                    information collection requests (ICRs) or
                                                 or relieves a restriction.’’ Because the                 implementation of previously                          the additional information collection
                                                 portions of this action that stay the                    applicable requirements impose no                     activities for which approval has been
                                                 effectiveness of the Good Neighbor                       requirements on any source that differ                requested in the Good Neighbor Plan’s
                                                 Plan’s requirements for the sources in                   substantively from the requirements that              ICRs.
                                                                                                          would have applied to that source in the
                                                   24 To illustrate, the EPA could in theory preserve     absence of the Good Neighbor Plan, and                C. Regulatory Flexibility Act (RFA)
                                                 the status quo for EGUs in Kentucky and Louisiana        the deadline corrections in this action                 This action is not subject to the
                                                 by promulgating an entire set of trading program                                                               Regulatory Flexibility Act (RFA),
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                                                 regulations under 40 CFR part 97 replicating the
                                                                                                          extend the deadlines in the Rule as
                                                 entire set of Group 3 trading program regulations as     published. Thus, no affected party                    5.U.S.C. 601–612. The RFA applies only
                                                 promulgated in the Revised CSAPR Update without          needs time to adjust its behavior in                  to rules subject to notice-and-comment
                                                 the subsequent revisions promulgated in the Good         preparation for these regulatory                      rulemaking requirements under the
                                                 Neighbor Plan to address states’ good neighbor                                                                 Administrative Procedure Act (APA), 5
                                                 obligations with respect to the 2015 ozone NAAQS.
                                                                                                          revisions.
                                                 However, the outcome would be substantively                                                                    U.S.C. 553, or any other statute. This
                                                 identical to the approach the EPA is taking here.          26 Omnipoint Corp. v. FCC, 78 F.3d 620, 630 (D.C.   rule is not subject to notice-and-
                                                   25 See 40 CFR 52.42(g)(2); 40 CFR 52.43(h)(2).         Cir. 1996).                                           comment requirements because the


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                                                 Agency has invoked the APA ‘‘good                        impact analysis for the Good Neighbor                 L. Judicial Review
                                                 cause’’ exemption under 5 U.S.C.                         Plan.27                                                  CAA section 307(b)(1) governs
                                                 553(b).                                                                                                        judicial review of final actions by the
                                                                                                          H. Executive Order 13211: Actions
                                                 D. Unfunded Mandates Reform Act                          Concerning Regulations That                           EPA. This section provides, in part, that
                                                 (UMRA)                                                   Significantly Affect Energy Supply,                   petitions for review must be filed in the
                                                                                                          Distribution, or Use                                  U.S. Court of Appeals for the District of
                                                    This action does not contain any                                                                            Columbia Circuit (D.C. Circuit): (i) when
                                                 unfunded mandate as described in the                       This action is not subject to Executive
                                                                                                                                                                the agency action consists of ‘‘nationally
                                                 Unfunded Mandates Reform Act                             Order 13211 because it is not a
                                                                                                                                                                applicable regulations promulgated, or
                                                 (UMRA), 2 U.S.C. 1531–1538, and does                     significant regulatory action under                   final actions taken, by the
                                                 not significantly or uniquely affect small               Executive Order 12866.                                Administrator,’’ or (ii) when such action
                                                 governments. This action imposes no                      I. National Technology Transfer and                   is locally or regionally applicable, but
                                                 enforceable duty on any state, local, or                 Advancement Act (NTTAA)                               ‘‘such action is based on a
                                                 tribal governments or the private sector.                   This rulemaking does not involve                   determination of nationwide scope or
                                                 This action simply stays the                             technical standards.                                  effect and if in taking such action the
                                                 effectiveness of certain regulatory                                                                            Administrator finds and publishes that
                                                 requirements for certain sources on an                   J. Executive Order 12898: Federal                     such action is based on such a
                                                 interim basis in response to procedural                  Actions To Address Environmental                      determination.’’ For locally or regionally
                                                 court orders while ensuring that                         Justice in Minority Populations and                   applicable final actions, the CAA
                                                 previously applicable regulatory                         Low-Income Populations                                reserves to the EPA complete discretion
                                                 requirements remain in effect.                              Executive Order 12898 (59 FR 7629,                 to decide whether to invoke the
                                                                                                          February 16, 1994) directs federal                    exception in (ii).29
                                                 E. Executive Order 13132: Federalism                                                                              This rulemaking is ‘‘nationally
                                                                                                          agencies, to the greatest extent
                                                                                                          practicable and permitted by law, to                  applicable’’ within the meaning of CAA
                                                   This action does not have federalism
                                                                                                          make environmental justice part of their              section 307(b)(1). In this action, in
                                                 implications. It will not have substantial
                                                                                                          mission by identifying and addressing,                response to court orders, the EPA is
                                                 direct effects on the states, on the
                                                                                                          as appropriate, disproportionately high               amending on an interim basis the Good
                                                 relationship between the national
                                                                                                          and adverse human health or                           Neighbor Plan,30 which the EPA
                                                 government and the states, or on the
                                                                                                          environmental effects of their programs,              developed by applying a uniform legal
                                                 distribution of power and
                                                                                                          policies, and activities on minority                  interpretation and common, nationwide
                                                 responsibilities among the various
                                                                                                          populations (people of color and/or                   analytical methods to address the
                                                 levels of government.
                                                                                                          Indigenous peoples) and low-income                    requirements of CAA section
                                                 F. Executive Order 13175: Consultation                   populations.                                          110(a)(2)(D)(i)(I) concerning interstate
                                                 and Coordination With Indian Tribal                         This action responds to court orders               transport of pollution (i.e., ‘‘good
                                                 Governments                                              issued by the U.S. Courts of Appeals for              neighbor’’ requirements) for the 2015
                                                                                                          the Fifth, Sixth, and Eighth Circuits and             ozone NAAQS. Based on that
                                                   This action does not have tribal                                                                             nationwide analysis, the Good Neighbor
                                                 implications as specified in Executive                   the EPA lacks discretion to deviate from
                                                                                                          those orders. The EPA’s assessment of                 Plan established FIP requirements for
                                                 Order 13175. This action simply stays                                                                          sources in 23 states located across eight
                                                 the effectiveness of certain regulatory                  environmental justice considerations for
                                                                                                          the action establishing the requirements              EPA Regions and ten federal judicial
                                                 requirements for certain sources on an                                                                         circuits. Given that this action amends
                                                 interim basis in response to procedural                  that are being stayed is discussed in
                                                                                                          section VII of the Good Neighbor Plan                 an action implementing the good
                                                 court orders while ensuring that                                                                               neighbor requirements of CAA section
                                                 previously applicable regulatory                         preamble.28
                                                                                                                                                                110(a)(2)(D)(i)(I) in a large number of
                                                 requirements remain in effect. Thus,                     K. Congressional Review Act (CRA)                     states located across the country and
                                                 Executive Order 13175 does not apply                        This action is subject to the                      given the interdependent nature of
                                                 to this action.                                          Congressional Review Act (CRA), 5                     interstate pollution transport and the
                                                 G. Executive Order 13045: Protection of                  U.S.C. 801–808, and the EPA will                      common core of knowledge and analysis
                                                 Children From Environmental Health                       submit a rule report to each House of                 involved in promulgating the FIP
                                                 Risks and Safety Risks                                   the Congress and to the Comptroller                   requirements, this is a ‘‘nationally
                                                                                                          General of the United States. The CRA                 applicable’’ action within the meaning
                                                   The EPA interprets Executive Order                     allows the issuing agency to make a rule              of CAA section 307(b)(1).
                                                 13045 as applying only to those                          effective sooner than otherwise                          In the alternative, to the extent a court
                                                 regulatory actions that concern                          provided by the CRA if the agency                     finds this action to be locally or
                                                 environmental health or safety risks that                makes a good cause finding that notice                regionally applicable, the Administrator
                                                 the EPA has reason to believe may                        and comment rulemaking procedures                     is exercising the complete discretion
                                                 disproportionately affect children, per                  are impracticable, unnecessary, or                    afforded to him under the CAA to make
                                                 the definition of ‘‘covered regulatory                   contrary to the public interest (5 U.S.C.             and publish a finding that this action is
                                                 action’’ in section 2–202 of the                         808(2)). The EPA has made a good cause                based on a determination of
                                                 Executive Order. This action responds                    finding for this rule as discussed in
                                                 to court orders issued by the U.S. Courts                section III of this document, including                 29 Sierra Club v. EPA, 47 F.4th 738, 745 (D.C. Cir.
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                                                 of Appeals for the Fifth, Sixth, and                                                                           2022) (‘‘EPA’s decision whether to make and
                                                                                                          the basis for that finding.                           publish a finding of nationwide scope or effect is
                                                 Eighth Circuits and the EPA lacks                                                                              committed to the agency’s discretion and thus is
                                                 discretion to deviate from those orders.                   27 See Regulatory Impact Analysis for the Final     unreviewable’’); Texas v. EPA, 983 F.3d 826, 834–
                                                 The EPA’s assessment of health and                       Federal Good Neighbor Plan Addressing Regional        35 (5th Cir. 2020).
                                                 safety risks for the action establishing                 Ozone Transport for the 2015 Ozone National             30 The Good Neighbor Plan is nationally
                                                                                                          Ambient Air Quality Standard (March 2023) at 197–     applicable or based on a determination of
                                                 the requirements that are being stayed is                257, available in the docket.                         nationwide scope or effect found and published by
                                                 discussed in Chapter 5 of the regulatory                   28 See 88 FR 36844–46.                              the EPA. See 88 FR 36859–60.



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                                                 ‘‘nationwide scope or effect’’ within the                List of Subjects                                       country located within the borders of
                                                 meaning of CAA section 307(b)(1). In                                                                            such State with regard to emissions
                                                                                                          40 CFR Part 52
                                                 this action, in response to court orders,                                                                       occurring in a control period in a given
                                                 the EPA is amending on an interim basis                    Environmental protection,                            year—
                                                 the Good Neighbor Plan, an action in                     Administrative practice and procedure,                    (i) The provisions of subpart EEEEE of
                                                 which the EPA interpreted and applied                    Air pollution control, Incorporation by                part 97 of this chapter (as modified in
                                                 section 110(a)(2)(D)(i)(I) of the CAA for                reference, Intergovernmental relations,                any approval of a SIP revision for such
                                                 the 2015 ozone NAAQS based on a                          Nitrogen oxides, Ozone, Particulate                    State by the Administrator under
                                                 common core of nationwide policy                         matter, Sulfur dioxide.                                paragraph (b)(8) of this section) or the
                                                 judgments and technical analysis                                                                                provisions of a SIP revision approved
                                                                                                          40 CFR Part 97
                                                                                                                                                                 for such State by the Administrator
                                                 concerning the interstate transport of                     Environmental protection,                            under paragraph (b)(9) of this section, if
                                                 pollutants throughout the continental                    Administrative practice and procedure,                 any, shall apply to the sources in such
                                                 United States. Based on that nationwide                  Air pollution control, Electric power                  State and areas of Indian country within
                                                 analysis, the Good Neighbor Plan                         plants, Nitrogen oxides, Ozone,                        the borders of such State subject to the
                                                 established FIP requirements for sources                 Particulate matter, Reporting and                      State’s SIP authority, and the provisions
                                                 in 23 states located across eight EPA                    recordkeeping requirements, Sulfur                     of subpart EEEEE of part 97 of this
                                                 Regions and ten federal judicial circuits.               dioxide.                                               chapter shall apply to the sources in
                                                 This action adjusts temporarily the                                                                             areas of Indian country within the
                                                 scope and operation of the Good                          Michael S. Regan,
                                                                                                                                                                 borders of such State not subject to the
                                                 Neighbor Plan for six states in response                 Administrator.
                                                                                                                                                                 State’s SIP authority, with regard to
                                                 to court orders, and also implements                       For the reasons stated in the                        emissions occurring in such control
                                                 necessary measures to ensure the status                  preamble, parts 52 and 97 of title 40 of               period; and
                                                 quo is maintained with respect to                        the Code of Federal Regulations are                       (ii) Such State shall be deemed to be
                                                 existing obligations under previously                    amended as follows:                                    listed in this paragraph (b)(2)(ii)(D)(1)
                                                 issued regulations (that were themselves                                                                        for purposes of this part and part 97 of
                                                 nationally applicable or based on a                      PART 52—APPROVAL AND                                   this chapter.
                                                 determination of nationwide scope or                     PROMULGATION OF                                           (2) While a stay under paragraph
                                                 effect found and published by the                        IMPLEMENTATION PLANS                                   (b)(2)(iii)(D)(2) of this section is in effect
                                                 EPA 31). This action also adjusts certain                                                                       for the sources in a State and Indian
                                                                                                          ■ 1. The authority citation for part 52                country located within the borders of
                                                 deadlines for all states that remain                     continues to read as follows:
                                                 covered by the Good Neighbor Plan.                                                                              such State with regard to emissions
                                                                                                               Authority: 42 U.S.C. 7401 et seq.                 occurring in a control period in a given
                                                    The Administrator finds that, like the                                                                       year—
                                                 Good Neighbor Plan which it amends,                      Subpart A—General Provisions                              (i) The provisions of subpart EEEEE of
                                                 this action is a matter on which national                                                                       part 97 of this chapter (as modified in
                                                 uniformity in judicial resolution of any                 ■ 2. Amend § 52.38 by:
                                                                                                                                                                 any approval of a SIP revision for such
                                                 petitions for review is desirable, to take               ■ a. Adding paragraphs (b)(2)(ii)(D) and
                                                                                                                                                                 State by the Administrator under
                                                 advantage of the D.C. Circuit’s                          (b)(2)(iii)(D);                                        paragraph (b)(8) of this section) or the
                                                 administrative law expertise, and to                     ■ b. In paragraph (b)(11)(iii)(D),
                                                                                                                                                                 provisions of a SIP revision approved
                                                 facilitate the orderly development of the                removing ‘‘and’’ after the semicolon;
                                                                                                                                                                 for such State by the Administrator
                                                 basic law under the Act. The                             ■ c. In paragraph (b)(14)(i)(F), removing
                                                                                                                                                                 under paragraph (b)(9) of this section, if
                                                 Administrator also finds that                            ‘‘and’’ after the semicolon;
                                                                                                                                                                 any, shall apply to the sources in such
                                                                                                          ■ d. Revising paragraph (b)(14)(i)(G);
                                                 consolidated review of this action in the                                                                       State and areas of Indian country within
                                                                                                          ■ e. Adding paragraph (b)(14)(i)(H);
                                                 D.C. Circuit will avoid piecemeal                                                                               the borders of such State subject to the
                                                                                                          ■ f. Revising paragraphs (b)(14)(iii)
                                                 litigation in the regional circuits, further                                                                    State’s SIP authority, and the provisions
                                                                                                          introductory text and (b)(14)(iii)(B);
                                                 judicial economy, and eliminate the risk                                                                        of subpart EEEEE of part 97 of this
                                                                                                          ■ g. In paragraph (b)(14)(iii)(C), adding
                                                 of inconsistent results for different                                                                           chapter shall apply to the sources in
                                                                                                          ‘‘Original’’ before ‘‘Group 2 allowances’’
                                                 states, and that a nationally consistent                                                                        areas of Indian country within the
                                                                                                          each time it appears; and
                                                 approach to the CAA’s mandate                            ■ h. In paragraph (b)(16)(ii)(B), adding
                                                                                                                                                                 borders of such State not subject to the
                                                 concerning interstate transport of ozone                 ‘‘and not listed in paragraph                          State’s SIP authority, with regard to
                                                 pollution constitutes the best use of                    (b)(2)(ii)(D)(2) of this section’’ before              emissions occurring in such control
                                                 Agency resources.                                        ‘‘and any control period’’.                            period; and
                                                    For these reasons, this final action is                  The additions and revisions read as                    (ii) Such State shall be deemed to be
                                                 nationally applicable or, alternatively,                 follows:                                               listed in this paragraph (b)(2)(ii)(D)(2)
                                                                                                                                                                 for purposes of this part and part 97 of
                                                 the Administrator is exercising the
                                                                                                          § 52.38 What are the requirements of the               this chapter.
                                                 complete discretion afforded to him by                   Federal Implementation Plans (FIPs) for the               (iii) * * *
                                                 the CAA and finds that this final action                 Cross-State Air Pollution Rule (CSAPR)                    (D) Notwithstanding any other
                                                 is based on a determination of                           relating to emissions of nitrogen oxides?              provision of this part:
                                                 nationwide scope or effect for purposes                  *      *     *     *      *                               (1) The effectiveness of paragraph
                                                 of CAA section 307(b)(1) and is                                                                                 (b)(2)(iii)(A) of this section is stayed for
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                                                                                                            (b) * * *
                                                 publishing that finding in the Federal                     (2) * * *                                            sources in Kentucky and Louisiana and
                                                 Register. Under CAA section 307(b)(1),                     (ii) * * *                                           Indian country located within the
                                                 petitions for judicial review of this                      (D) Notwithstanding any other                        borders of such States with regard to
                                                 action must be filed in the D.C. Circuit                 provision of this part:                                emissions occurring in 2023 and
                                                 by September 29, 2023.                                     (1) While a stay under paragraph                     thereafter. While a stay under this
                                                                                                          (b)(2)(iii)(D)(1) of this section is in effect         paragraph (b)(2)(iii)(D)(1) is in effect for
                                                   31 See 86 FR 23163–64; 81 FR 74585–86.                 for the sources in a State and Indian                  a State, such State shall be deemed not


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                                                 to be listed in paragraph (b)(2)(iii)(A) of              entities, wherever located, that at any               occurring in 2023 and thereafter,
                                                 this section for purposes of part 97 of                  time held or hold such allowances:                    provided that while such stay remains
                                                 this chapter for a control period after                  *      *     *     *    *                             in effect, the provisions of paragraph
                                                 2022.                                                       (B) The provisions of §§ 97.526(d),                (a)(2) of this section shall apply with
                                                    (2) The effectiveness of paragraph                    97.826(d) and (e), and 97.1026(e) of this             regard to such emissions.
                                                 (b)(2)(iii)(B) of this section is stayed for             chapter (concerning the conversion of                    (b) * * *
                                                 sources in Arkansas, Mississippi,                        unused CSAPR NOX Ozone Season                            (2) Notwithstanding any other
                                                 Missouri, and Texas and Indian country                   Group 1 allowances allocated for                      provision of this part, the effectiveness
                                                 located within the borders of such                       specified control periods to different                of paragraph (b)(1) of this section is
                                                 States with regard to emissions                          amounts of CSAPR NOX Ozone Season                     stayed.
                                                 occurring in 2023 and thereafter. While                  Original Group 2 allowances or CSAPR
                                                 a stay under this paragraph                              NOX Ozone Season Group 3 allowances,                  Subpart S—Kentucky
                                                 (b)(2)(iii)(D)(2) is in effect for a State,              the conversion of unused CSAPR NOX                    ■ 6. Amend § 52.940 by:
                                                 such State shall be deemed not to be                     Ozone Season Original Group 2                         ■ a. Adding paragraph (b)(6); and
                                                 listed in paragraph (b)(2)(iii)(B) of this               allowances allocated for specified                    ■ b. Redesignating paragraph (c) as
                                                 section for purposes of part 97 of this                  control periods to different amounts of               paragraph (c)(1) and adding paragraph
                                                 chapter.                                                 CSAPR NOX Ozone Season Group 3                        (c)(2).
                                                 *       *    *      *     *                              allowances, and the conversion of                        The additions read as follows:
                                                    (14) * * *                                            unused CSAPR NOX Ozone Season
                                                    (i) * * *                                             Group 3 allowances allocated for                      § 52.940 Interstate pollutant transport
                                                                                                          specified control periods to CSAPR NOX                provisions; What are the FIP requirements
                                                    (G) The provisions in § 97.526(e) of                                                                        for decreases in emissions of nitrogen
                                                                                                          Ozone Season Expanded Group 2
                                                 this chapter or § 97.826(f) of this chapter                                                                    oxides?
                                                                                                          allowances); and
                                                 (concerning the use of CSAPR NOX                                                                               *     *      *     *    *
                                                 Ozone Season Original Group 2                            *      *     *     *    *
                                                                                                                                                                  (b) * * *
                                                 allowances, CSAPR NOX Ozone Season                       ■ 3. Amend § 52.40 by adding paragraph
                                                                                                                                                                  (6) Notwithstanding any other
                                                 Expanded Group 2 allowances, or                          (c)(4) to read as follows:
                                                                                                                                                                provision of this part, the effectiveness
                                                 CSAPR NOX Ozone Season Group 3                           § 52.40 What are the requirements of the              of paragraph (b)(3) of this section is
                                                 allowances to satisfy requirements to                    Federal Implementation Plans (FIPs)                   stayed with regard to emissions
                                                 hold CSAPR NOX Ozone Season Group                        relating to ozone season emissions of                 occurring in 2023 and thereafter,
                                                 1 allowances or the use of CSAPR NOX                     nitrogen oxides from sources not subject to           provided that while such stay remains
                                                 Ozone Season Expanded Group 2                            the CSAPR ozone season trading program?               in effect, the provisions of paragraph
                                                 allowances or CSAPR NOX Ozone                            *     *     *     *     *                             (b)(2) of this section shall apply with
                                                 Season Group 3 allowances to satisfy                       (c) * * *                                           regard to such emissions.
                                                 requirements to hold CSAPR NOX                             (4) Notwithstanding any other                         (c) * * *
                                                 Ozone Season Original Group 2                            provision of this part, the effectiveness               (2) Notwithstanding any other
                                                 allowances); and                                         of paragraphs (a) and (b), (c)(1) through             provision of this part, the effectiveness
                                                    (H) The provisions in §§ 97.806(c),                   (3), and (d) through (g) of this section              of paragraph (c)(1) of this section is
                                                 97.824(a) and (d), and 97.825(a) of this                 and §§ 52.41, 52.42, 52.43, 52.44, 52.45,             stayed.
                                                 chapter (concerning the situations for                   and 52.46 is stayed for sources located
                                                 which compliance requirements are                        in Arkansas, Kentucky, Louisiana,                     Subpart T—Louisiana
                                                 defined in terms of either CSAPR NOX                     Mississippi, Missouri, and Texas,
                                                 Ozone Season Original Group 2                            including Indian country located within               ■ 7. Amend § 52.984 by:
                                                 allowances or CSAPR NOX Ozone                            the borders of such States.                           ■ a. Adding paragraph (d)(6); and
                                                 Season Expanded Group 2 allowances).                                                                           ■ b. Redesignating paragraph (e) as
                                                                                                          *     *     *     *     *
                                                 *       *    *      *     *                                                                                    paragraph (e)(1) and adding paragraph
                                                                                                          § 52.44   [Amended]                                   (e)(2).
                                                    (iii) Notwithstanding any
                                                                                                                                                                   The additions read as follows:
                                                 discontinuation pursuant to paragraphs                   ■ 4. Amend § 52.44(j)(2) by removing
                                                 (b)(2)(i)(B), (b)(2)(ii)(B) or (C),                      ‘‘June 23, 2023’’ and adding in its place             § 52.984 Interstate pollutant transport
                                                 (b)(2)(iii)(D)(1), or (b)(13)(i) of this                 ‘‘December 4, 2023’’.                                 provisions; What are the FIP requirements
                                                 section of the applicability of subpart                                                                        for decreases in emissions of nitrogen
                                                 BBBBB, EEEEE, or GGGGG of part 97 of                     Subpart E—Arkansas                                    oxides?
                                                 this chapter to the sources in a State and                                                                     *     *      *     *    *
                                                                                                          ■ 5. Amend § 52.184 by:
                                                 areas of Indian country within the                                                                               (d) * * *
                                                                                                          ■ a. Adding paragraph (a)(6); and
                                                 borders of the State subject to the State’s                                                                      (6) Notwithstanding any other
                                                                                                          ■ b. Redesignating paragraph (b) as
                                                 SIP authority with regard to emissions                                                                         provision of this part, the effectiveness
                                                                                                          paragraph (b)(1) and adding paragraph
                                                 occurring in any control period, the                                                                           of paragraph (d)(3) of this section is
                                                                                                          (b)(2).
                                                 following provisions shall continue to                                                                         stayed with regard to emissions
                                                                                                            The additions read as follows:
                                                 apply with regard to all CSAPR NOX                                                                             occurring in 2023 and thereafter,
                                                 Ozone Season Group 1 allowances,                         § 52.184 Interstate pollutant transport               provided that while such stay remains
                                                                                                                                                                in effect, the provisions of paragraph
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                                                 CSAPR NOX Ozone Season Group 2                           provisions; What are the FIP requirements
                                                 allowances, and CSAPR NOX Ozone                          for decreases in emissions of nitrogen                (d)(2) of this section shall apply with
                                                 Season Group 3 allowances at any time                    oxides?                                               regard to such emissions.
                                                 allocated for any control period to any                    (a) * * *                                             (e) * * *
                                                 source or other entity in the State and                    (6) Notwithstanding any other                         (2) Notwithstanding any other
                                                 areas of Indian country within the                       provision of this part, the effectiveness             provision of this part, the effectiveness
                                                 borders of the State subject to the State’s              of paragraph (a)(3) of this section is                of paragraph (e)(1) of this section is
                                                 SIP authority and shall apply to all                     stayed with regard to emissions                       stayed.


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                                                 Subpart Z—Mississippi                                    § 52.2283 Interstate pollutant transport              subpart EEEEE of this part, § 97.526(d),
                                                                                                          provisions; What are the FIP requirements             or § 97.1026(e), or by a State or
                                                 ■ 8. Amend § 52.1284 by:
                                                                                                          for decreases in emissions of nitrogen                permitting authority under a SIP
                                                                                                          oxides?                                               revision approved by the Administrator
                                                 ■ a. Adding paragraph (a)(6); and
                                                                                                          *     *      *     *    *                             under § 52.38(b)(7), (8), or (9) of this
                                                 ■ b. Redesignating paragraph (b) as
                                                                                                            (d) * * *                                           chapter, to emit one ton of NOX during
                                                 paragraph (b)(1) and adding paragraph                      (6) Notwithstanding any other
                                                 (b)(2).                                                                                                        a control period of the specified
                                                                                                          provision of this part, the effectiveness             calendar year for which the
                                                   The additions read as follows:                         of paragraph (d)(3) of this section is                authorization is allocated or auctioned
                                                 § 52.1284 Interstate pollutant transport                 stayed with regard to emissions                       or of any calendar year thereafter under
                                                 provisions; What are the FIP requirements                occurring in 2023 and thereafter,                     the CSAPR NOX Ozone Season Group 2
                                                 for decreases in emissions of nitrogen                   provided that while such stay remains                 Trading Program, where each CSAPR
                                                 oxides?                                                  in effect, the provisions of paragraph                NOX Ozone Season Group 2 allowance
                                                    (a) * * *                                             (d)(2) of this section shall apply with               is either a CSAPR NOX Ozone Season
                                                                                                          regard to such emissions.                             Original Group 2 allowance or a CSAPR
                                                    (6) Notwithstanding any other                           (e) * * *
                                                 provision of this part, the effectiveness                                                                      NOX Ozone Season Expanded Group 2
                                                                                                            (2) Notwithstanding any other                       allowance.
                                                 of paragraph (a)(3) of this section is                   provision of this part, the effectiveness
                                                 stayed with regard to emissions                                                                                *      *      *     *     *
                                                                                                          of paragraph (e)(1) of this section is                   CSAPR NOX Ozone Season Original
                                                 occurring in 2023 and thereafter,                        stayed.
                                                 provided that while such stay remains                                                                          Group 2 allowance means a CSAPR NOX
                                                 in effect, the provisions of paragraph                   PART 97—FEDERAL NOX BUDGET                            Ozone Season Group 2 allowance other
                                                 (a)(2) of this section shall apply with                  TRADING PROGRAM, CAIR NOX AND                         than a CSAPR NOX Ozone Season
                                                 regard to such emissions.                                SO2 TRADING PROGRAMS, CSAPR                           Expanded Group 2 allowance.
                                                    (b) * * *                                             NOX AND SO2 TRADING PROGRAMS,                         *      *      *     *     *
                                                    (2) Notwithstanding any other                         AND TEXAS SO2 TRADING PROGRAM                         ■ 13. Amend § 97.526 by:
                                                 provision of this part, the effectiveness                                                                      ■ a. In paragraphs (d)(1)(iii) and (iv) and
                                                 of paragraph (b)(1) of this section is                   ■ 11. The authority citation for part 97              (d)(2)(i), adding ‘‘Original’’ before
                                                 stayed.                                                  continues to read as follows:                         ‘‘Group 2 allowances’’ each time it
                                                                                                            Authority: 42 U.S.C. 7401, 7403, 7410,              appears;
                                                 Subpart AA—Missouri                                      7426, 7491, 7601, and 7651, et seq.                   ■ b. Redesignating paragraph (d)(2)(ii)
                                                                                                                                                                as paragraph (d)(2)(ii)(A);
                                                 ■ 9. Amend § 52.1326 by:                                 Subpart BBBBB—CSAPR NOX Ozone                         ■ c. In newly redesignated paragraph
                                                 ■ a. Adding paragraph (b)(6); and                        Season Group 1 Trading Program                        (d)(2)(ii)(A), removing ‘‘After the
                                                 ■ b. Redesignating paragraph (c) as                                                                            Administrator’’ and adding in its place
                                                                                                          ■ 12. Amend § 97.502 by:                              ‘‘Except as provided in paragraph
                                                 paragraph (c)(1) and adding paragraph
                                                                                                          ■ a. Adding in alphabetical order a                   (d)(2)(ii)(B) of this section, after the
                                                 (c)(2).
                                                                                                          definition of ‘‘CSAPR NOX Ozone                       Administrator’’;
                                                    The additions read as follows:                        Season Expanded Group 2 allowance’’;                  ■ d. Adding paragraph (d)(2)(ii)(B);
                                                 § 52.1326 Interstate pollutant transport                 ■ b. Revising the definition of ‘‘CSAPR               ■ e. Revising paragraph (e) introductory
                                                 provisions; What are the FIP requirements                NOX Ozone Season Group 2 allowance’’;                 text;
                                                 for decreases in emissions of nitrogen                   and                                                   ■ f. In paragraph (e)(1), adding
                                                 oxides?                                                  ■ c. Adding in alphabetical order a                   ‘‘Original’’ before ‘‘Group 2
                                                 *     *      *     *    *                                definition of ‘‘CSAPR NOX Ozone                       allowances’’;
                                                   (b) * * *                                              Season Original Group 2 allowance’’.                  ■ g. Redesignating paragraph (e)(2) as
                                                                                                            The revision and additions read as                  paragraph (e)(2)(i);
                                                   (6) Notwithstanding any other
                                                                                                          follows:                                              ■ h. In newly redesignated paragraph
                                                 provision of this part, the effectiveness
                                                 of paragraph (b)(3) of this section is                   § 97.502   Definitions.                               (e)(2)(i), removing ‘‘After the
                                                 stayed with regard to emissions                                                                                Administrator’’ and adding in its place
                                                                                                          *     *      *     *     *
                                                 occurring in 2023 and thereafter,                                                                              ‘‘Except as provided in paragraph
                                                                                                             CSAPR NOX Ozone Season Expanded
                                                 provided that while such stay remains                                                                          (e)(2)(ii) of this section, after the
                                                                                                          Group 2 allowance means a CSAPR NOX
                                                 in effect, the provisions of paragraph                                                                         Administrator’’; and
                                                                                                          Ozone Season Group 2 allowance
                                                 (b)(2) of this section shall apply with                                                                        ■ i. Adding paragraph (e)(2)(ii).
                                                                                                          allocated for a control period after 2022                The additions and revision read as
                                                 regard to such emissions.                                under subpart EEEEE of this part,
                                                   (c) * * *                                                                                                    follows:
                                                                                                          § 97.526(d), or § 97.1026(e) to a unit in
                                                   (2) Notwithstanding any other                          a State listed in § 52.38(b)(2)(ii)(D)(1) of          § 97.526    Banking and conversion.
                                                 provision of this part, the effectiveness                this chapter (and Indian country within               *      *    *      *     *
                                                 of paragraph (c)(1) of this section is                   the borders of such a State) or allocated               (d) * * *
                                                 stayed.                                                  or auctioned for a control period after                 (2) * * *
                                                                                                          2022 in accordance with the provisions                  (ii) * * *
                                                 Subpart SS—Texas                                         of a SIP revision approved for such a
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                                                                                                                                                                  (B) After the Administrator has
                                                                                                          State by the Administrator under                      carried out the procedures set forth in
                                                 ■ 10. Amend § 52.2283 by:                                § 52.38(b)(7), (8), or (9) of this chapter.           paragraph (d)(1) of this section and
                                                 ■ a. Adding paragraph (d)(6); and                        *     *      *     *     *                            §§ 97.826(d)(1) and 97.1026(e), upon
                                                 ■ b. Redesignating paragraph (e) as                         CSAPR NOX Ozone Season Group 2                     any determination that would otherwise
                                                 paragraph (e)(1) and adding paragraph                    allowance means a limited                             result in the initial recordation of a
                                                 (e)(2).                                                  authorization issued and allocated or                 given number of CSAPR NOX Ozone
                                                    The additions read as follows:                        auctioned by the Administrator under                  Season Group 1 allowances in the


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                                                 compliance account for a source in a                     further divided by the conversion factor                 CSAPR NOX Ozone Season Original
                                                 State listed in § 52.38(b)(2)(ii)(D)(1) of               determined under § 97.826(d)(1)(i)(D).                Group 2 allowance means a CSAPR NOX
                                                 this chapter (and Indian country within                  *     *    *     *    *                               Ozone Season Group 2 allowance other
                                                 the borders of such a State), the                                                                              than a CSAPR NOX Ozone Season
                                                 Administrator will not record such                       Subpart EEEEE—CSAPR NOX Ozone                         Expanded Group 2 allowance.
                                                 CSAPR NOX Ozone Season Group 1                           Season Group 2 Trading Program                        *      *     *     *     *
                                                 allowances but instead will allocate and                                                                       ■ 15. Amend § 97.806 by:
                                                                                                          ■ 14. Amend § 97.802 by:
                                                 record in such account an amount of                                                                            ■ a. In paragraph (c)(1)(i), adding ‘‘for
                                                                                                          ■ a. In the definition of ‘‘Allocate or
                                                 CSAPR NOX Ozone Season Expanded                          allocation’’, removing ‘‘§ 97.526(d),                 such source’’ after ‘‘available for
                                                 Group 2 allowances for the control                       and’’ and adding in its place                         deduction’’;
                                                 period in 2023 computed as the                                                                                 ■ b. In paragraph (c)(2)(i) introductory
                                                                                                          ‘‘§§ 97.526(d), 97.826(d), and 97.1026(e),
                                                 quotient, rounded up to the nearest                                                                            text, adding ‘‘for such group’’ after
                                                                                                          and’’;
                                                 allowance, of such given number of                                                                             ‘‘available for deduction’’;
                                                                                                          ■ b. In the definition of ‘‘Common
                                                 CSAPR NOX Ozone Season Group 1                                                                                 ■ c. In paragraph (c)(4), amend the
                                                                                                          designated representative’s assurance
                                                 allowances divided by the conversion                                                                           paragraph heading by adding ‘‘and
                                                                                                          level’’, paragraph (2), removing                      type’’ after ‘‘Vintage’’; and
                                                 factor determined under paragraph                        ‘‘§ 97.526(d)’’ and adding in its place               ■ d. Adding paragraphs (c)(4)(iii) and
                                                 (d)(1)(ii) of this section and further                   ‘‘§ 97.526(d), § 97.826(d), or
                                                 divided by the conversion factor                                                                               (iv).
                                                                                                          § 97.1026(e)’’;                                          The additions read as follows:
                                                 determined under § 97.826(d)(1)(i)(D).                   ■ c. Adding in alphabetical order a
                                                 *       *    *      *    *                               definition of ‘‘CSAPR NOX Ozone                       § 97.806    Standard requirements.
                                                    (e) Notwithstanding any other                         Season Expanded Group 2 allowance’’;                  *       *     *      *     *
                                                                                                          ■ d. Revising the definition of ‘‘CSAPR                  (c) * * *
                                                 provision of this subpart or any SIP
                                                                                                          NOX Ozone Season Group 2 allowance’’;                    (4) * * *
                                                 revision approved under § 52.38(b)(4) or                                                                          (iii) Except as provided in paragraph
                                                                                                          and
                                                 (5) of this chapter, CSAPR NOX Ozone                     ■ e. Adding in alphabetical order a                   (c)(4)(iv) of this section, a CSAPR NOX
                                                 Season Original Group 2 allowances,                      definition of ‘‘CSAPR NOX Ozone                       Ozone Season Group 2 allowance held
                                                 CSAPR NOX Ozone Season Expanded                          Season Original Group 2 allowance’’.                  for compliance with the requirements
                                                 Group 2 allowances, or CSAPR NOX                            The additions and revision read as                 under paragraphs (c)(1)(i), (c)(1)(ii)(A),
                                                 Ozone Season Group 3 allowances may                      follows:                                              and (c)(2)(i) through (iii) of this section
                                                 be used to satisfy requirements to hold                                                                        must be a CSAPR NOX Ozone Season
                                                 CSAPR NOX Ozone Season Group 1                           § 97.802   Definitions.
                                                                                                                                                                Original Group 2 allowance.
                                                 allowances under this subpart as                         *      *     *     *     *                               (iv) A CSAPR NOX Ozone Season
                                                 follows, provided that nothing in this                      CSAPR NOX Ozone Season Expanded                    Group 2 allowance held for compliance
                                                 paragraph (e) alters the time as of which                Group 2 allowance means a CSAPR NOX                   with the requirements under paragraphs
                                                 any such allowance holding                               Ozone Season Group 2 allowance                        (c)(1)(i), (c)(1)(ii)(A), and (c)(2)(i)
                                                 requirement must be met or limits any                    allocated for a control period after 2022             through (iii) of this section for a source
                                                 consequence of a failure to timely meet                  under this subpart, § 97.526(d), or                   or group of sources in a State listed in
                                                 any such allowance holding                               § 97.1026(e) to a unit in a State listed in           § 52.38(b)(2)(ii)(D)(1) of this chapter (or
                                                 requirement:                                             § 52.38(b)(2)(ii)(D)(1) of this chapter               Indian country within the borders of
                                                 *       *    *      *    *                               (and Indian country within the borders                such a State) for a control period after
                                                                                                          of such a State) or allocated or                      2022 must be a CSAPR NOX Ozone
                                                    (2) * * *                                             auctioned for a control period after 2022             Season Expanded Group 2 allowance.
                                                    (ii) After the Administrator has                      in accordance with the provisions of a                *       *     *      *     *
                                                 carried out the procedures set forth in                  SIP revision approved for such a State
                                                                                                                                                                ■ 16. Amend § 97.810 by:
                                                 paragraph (d)(1) of this section and                     by the Administrator under                            ■ a. In paragraphs (a)(2)(i) and (ii),
                                                 §§ 97.826(d)(1) and 97.1026(e), the                      § 52.38(b)(7), (8), or (9) of this chapter.           removing ‘‘through 2022’’ and adding in
                                                 owner or operator of a CSAPR NOX                         *      *     *     *     *                            its place ‘‘and thereafter’’;
                                                 Ozone Season Group 1 source in a State                      CSAPR NOX Ozone Season Group 2                     ■ b. Adding paragraphs (a)(8)(iv)
                                                 listed in § 52.38(b)(2)(ii)(D)(1) of this                allowance means a limited                             through (vi) and (a)(9)(iv) through (vi);
                                                 chapter (and Indian country within the                   authorization issued and allocated or                 ■ c. In paragraphs (a)(12)(i) through (iii),
                                                 borders of such a State) may satisfy a                   auctioned by the Administrator under                  (a)(13)(i) and (ii), (a)(20)(i) through (iii),
                                                 requirement to hold a given number of                    this subpart, § 97.526(d), or § 97.1026(e),           and (b)(2), removing ‘‘through 2022’’
                                                 CSAPR NOX Ozone Season Group 1                           or by a State or permitting authority                 and adding in its place ‘‘and thereafter’’;
                                                 allowances for the control period in                     under a SIP revision approved by the                  ■ d. Redesignating paragraph (b)(8) as
                                                 2015 or 2016 by holding instead, in a                    Administrator under § 52.38(b)(7), (8),               paragraph (b)(8)(i) and adding paragraph
                                                 general account established for this sole                or (9) of this chapter, to emit one ton of            (b)(8)(ii);
                                                 purpose, an amount of CSAPR NOX                          NOX during a control period of the                    ■ e. Redesignating paragraph (b)(9) as
                                                 Ozone Season Expanded Group 2                            specified calendar year for which the                 paragraph (b)(9)(i) and adding paragraph
                                                 allowances for the control period in                     authorization is allocated or auctioned               (b)(9)(ii); and
                                                 2021 (or any later control period for                    or of any calendar year thereafter under              ■ f. In paragraphs (b)(12), (b)(13), and
                                                 which the allowance transfer deadline                    the CSAPR NOX Ozone Season Group 2                    (b)(20), removing ‘‘through 2022’’ and
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                                                 defined in § 97.802 has passed)                          Trading Program, where each CSAPR                     adding in its place ‘‘and thereafter’’.
                                                 computed as the quotient, rounded up                     NOX Ozone Season Group 2 allowance                       The additions read as follows:
                                                 to the nearest allowance, of such given                  is either a CSAPR NOX Ozone Season                    § 97.810 State NOX Ozone Season Group 2
                                                 number of CSAPR NOX Ozone Season                         Original Group 2 allowance or a CSAPR                 trading budgets, new unit set-asides, Indian
                                                 Group 1 allowances divided by the                        NOX Ozone Season Expanded Group 2                     country new unit set-asides, and variability
                                                 conversion factor determined under                       allowance.                                            limits.
                                                 paragraph (d)(1)(ii) of this section and                 *      *     *     *     *                                (a) * * *


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                                                    (8) * * *                                                (ii) If a unit provided an allocation of           97.1018’’ in place of the terms ‘‘40 CFR
                                                    (iv) The NOX Ozone Season Group 2                     CSAPR NOX Ozone Season Expanded                       97.818(d)’’ and ‘‘40 CFR 97.818’’,
                                                 trading budget for 2023 and thereafter is                Group 2 allowances in the applicable                  respectively, in the required
                                                 14,051 tons.                                             notice of data availability issued under              certification statements will be
                                                    (v) The new unit set-aside for 2023                   paragraph (a)(1) of this section does not             considered a valid notice of delegation
                                                 and thereafter is 283 tons.                              operate, starting after 2020, during the              submitted under paragraph (c) of this
                                                    (vi) [Reserved]                                       control period in two consecutive years,              section, and the certification statements
                                                    (9) * * *                                             such unit will not be allocated the                   included in such notice of delegation
                                                    (iv) The NOX Ozone Season Group 2                     CSAPR NOX Ozone Season Expanded                       will be interpreted for purposes of this
                                                 trading budget for 2023 and thereafter is                Group 2 allowances provided in such                   subpart as if the terms ‘‘40 CFR
                                                 14,818 tons.                                             notice for the unit for the control                   97.818(d)’’ and ‘‘40 CFR 97.818’’
                                                    (v) The new unit set-aside for 2023                   periods in the fifth year after the first             appeared in place of the terms ‘‘40 CFR
                                                 and thereafter is 430 tons.                              such year and in each year after that                 97.1018(d)’’ and ‘‘40 CFR 97.1018’’,
                                                    (vi) The Indian country new unit set-                 fifth year.                                           respectively.
                                                 aside for 2023 and thereafter is 15 tons.                   (iii) All CSAPR NOX Ozone Season                   ■ 20. Amend § 97.820 by:
                                                 *       *     *     *    *                               Group 2 allowances that would                         ■ a. Revising paragraphs (c)(1)(iv) and
                                                    (b) * * *                                             otherwise have been allocated to a unit               (c)(2)(iv); and
                                                    (8) * * *                                             described in paragraph (a)(2)(i) or (ii) of           ■ b. Redesignating paragraph (c)(5)(vi)
                                                    (ii) The variability limit for Kentucky               this section will be allocated to the new             as paragraph (c)(5)(vi)(A) and adding
                                                                                                          unit set-aside for the State where such               paragraph (c)(5)(vi)(B).
                                                 for 2023 and thereafter is 2,951 tons.
                                                                                                          unit is located and for the respective                   The revisions and addition read as
                                                    (9) * * *
                                                                                                          years involved. If such unit resumes                  follows:
                                                    (ii) The variability limit for Louisiana
                                                                                                          operation, the Administrator will
                                                 for 2023 and thereafter is 3,112 tons.                                                                         § 97.820 Establishment of compliance
                                                                                                          allocate CSAPR NOX Ozone Season
                                                 *       *     *     *    *                               Group 2 allowances to the unit in                     accounts, assurance accounts, and general
                                                 ■ 17. Amend § 97.811 by:                                 accordance with paragraph (b) of this                 accounts.
                                                 ■ a. Revising paragraph (a)(2);                          section.                                              *      *      *     *     *
                                                 ■ b. In paragraphs (d)(1), (d)(2)(i),                    *       *     *     *    *                               (c) * * *
                                                 (d)(2)(ii)(A) through (C), (d)(3)(i)                                                                              (1) * * *
                                                                                                          ■ 18. Amend § 97.816 by revising                         (iv) An application for a general
                                                 through (iii), (d)(3)(iv)(A) through (C),                paragraph (c) to read as follows:
                                                 (d)(3)(v)(B) and (C), (d)(4)(i) through                                                                        account under paragraph (c)(1) of this
                                                 (iii), (d)(5) introductory text, (d)(5)(i)               § 97.816   Certificate of representation.             section, § 97.520(c)(1), or § 97.1020(c)(1)
                                                 and (ii), and (d)(6), adding ‘‘Original’’                                                                      that complies with the provisions of
                                                                                                          *      *    *     *      *
                                                 before ‘‘Group 2’’ each time it appears;                   (c) A certificate of representation                 paragraph (c)(1) of this section except
                                                 ■ c. In paragraph (e)(1):                                under this section, § 97.516, or                      that it contains the phrase ‘‘TR NOX
                                                 ■ i. Adding ‘‘and not listed in                          § 97.1016 that complies with the                      Ozone Season’’ or the phrase ‘‘CSAPR
                                                 § 52.38(b)(2)(ii)(D)(2) of this chapter’’                provisions of paragraph (a) of this                   NOX Ozone Season Group 3’’ in place of
                                                 before ‘‘(and Indian country’’; and                      section except that it contains the                   the phrase ‘‘CSAPR NOX Ozone Season
                                                 ■ ii. Adding ‘‘Original’’ before ‘‘Group                 phrase ‘‘TR NOX Ozone Season’’ or the                 Group 2’’ in the required certification
                                                 2’’ each time it appears; and                            phrase ‘‘CSAPR NOX Ozone Season                       statement will be considered a complete
                                                 ■ d. In paragraphs (e)(2)(i), (e)(2)(ii)(A)              Group 3’’ in place of the phrase ‘‘CSAPR              application for a general account under
                                                 through (C), (e)(3)(i) through (iii),                    NOX Ozone Season Group 2’’ in the                     paragraph (c)(1) of this section, and the
                                                 (e)(3)(iv)(A) through (C), (e)(3)(v)(B) and              required certification statements will be             certification statement included in such
                                                 (C), (e)(4)(i) through (iii), (e)(5)                     considered a complete certificate of                  application for a general account will be
                                                 introductory text, (e)(5)(i) and (ii), and               representation under this section, and                interpreted for purposes of this subpart
                                                 (e)(6), adding ‘‘Original’’ before ‘‘Group               the certification statements included in              as if the phrase ‘‘CSAPR NOX Ozone
                                                 2’’ each time it appears.                                such certificate of representation will be            Season Group 2’’ appeared in place of
                                                    The revision reads as follows:                        interpreted for purposes of this subpart              the phrase ‘‘TR NOX Ozone Season’’ or
                                                                                                          as if the phrase ‘‘CSAPR NOX Ozone                    the phrase ‘‘CSAPR NOX Ozone Season
                                                 § 97.811 Timing requirements for CSAPR                                                                         Group 3’’.
                                                 NOX Ozone Season Group 2 allowance
                                                                                                          Season Group 2’’ appeared in place of
                                                                                                          the phrase ‘‘TR NOX Ozone Season’’ or                    (2) * * *
                                                 allocations.                                                                                                      (iv) A certification statement
                                                                                                          the phrase ‘‘CSAPR NOX Ozone Season
                                                    (a) * * *                                                                                                   submitted in accordance with paragraph
                                                                                                          Group 3’’.
                                                    (2) Notwithstanding paragraph (a)(1)                                                                        (c)(2)(ii) of this section that contains the
                                                                                                          ■ 19. Amend § 97.818 by redesignating
                                                 of this section:                                                                                               phrase ‘‘TR NOX Ozone Season’’ or the
                                                    (i) If a unit provided an allocation of               paragraph (f) as paragraph (f)(1) and                 phrase ‘‘CSAPR NOX Ozone Season
                                                 CSAPR NOX Ozone Season Original                          adding paragraph (f)(2) to read as                    Group 3’’ will be interpreted for
                                                 Group 2 allowances in the applicable                     follows:                                              purposes of this subpart as if the phrase
                                                 notice of data availability issued under                 § 97.818 Delegation by designated                     ‘‘CSAPR NOX Ozone Season Group 2’’
                                                 paragraph (a)(1) of this section does not                representative and alternate designated               appeared in place of the phrase ‘‘TR
                                                 operate, starting after 2016, during the                 representative.                                       NOX Ozone Season’’ or the phrase
                                                 control period in two consecutive years,                                                                       ‘‘CSAPR NOX Ozone Season Group 3’’.
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                                                                                                          *      *     *    *     *
                                                 such unit will not be allocated the                         (f) * * *                                          *      *      *     *     *
                                                 CSAPR NOX Ozone Season Original                             (2) A notice of delegation submitted                  (5) * * *
                                                 Group 2 allowances provided in such                      under paragraph (c) of this section or                   (vi) * * *
                                                 notice for the unit for the control                      § 97.1018(c) that complies with the                      (B) A notice of delegation submitted
                                                 periods in the fifth year after the first                provisions of paragraph (c) of this                   under paragraph (c)(5)(iii) of this section
                                                 such year and in each year after that                    section except that it contains the terms             or § 97.1020(c)(5)(iii) that complies with
                                                 fifth year.                                              ‘‘40 CFR 97.1018(d)’’ and ‘‘40 CFR                    the provisions of paragraph (c)(5)(iii) of


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                                                 this section except that it contains the                 deductions are for compliance with the                chapter (and Indian country within the
                                                 terms ‘‘40 CFR 97.1020(c)(5)(iv)’’ and                   CSAPR NOX Ozone Season Group 2                        borders of such a State) for a control
                                                 ‘‘40 CFR 97.1020(c)(5)’’ in place of the                 emissions limitation of a source in a                 period after 2022.
                                                 terms ‘‘40 CFR 97.820(c)(5)(iv)’’ and ‘‘40               State listed in § 52.38(b)(2)(ii)(D)(1) of            *      *     *     *      *
                                                 CFR 97.820(c)(5)’’, respectively, in the                 this chapter (and Indian country within               ■ 24. Amend § 97.826 by:
                                                 required certification statements will be                the borders of such a State) for a control            ■ a. In paragraphs (d)(1)(i)(A) and (D),
                                                 considered a valid notice of delegation                  period after 2022.                                    (d)(1)(ii)(A), (d)(1)(iii)(A), (d)(1)(iv)(A)
                                                 submitted under paragraph (c)(5)(iii) of                 *      *     *     *    *                             and (B), and (d)(2)(ii), adding ‘‘Original’’
                                                 this section, and the certification                         (d) Deductions for excess emissions.               before ‘‘Group 2 allowances’’ each time
                                                 statements included in such notice of                    After making the deductions for                       it appears;
                                                 delegation will be interpreted for                       compliance under paragraph (b) of this                ■ b. Redesignating paragraph (d)(3) as
                                                 purposes of this subpart as if the terms                 section for a control period in a year in             paragraph (d)(3)(i);
                                                 ‘‘40 CFR 97.820(c)(5)(iv)’’ and ‘‘40 CFR                 which the CSAPR NOX Ozone Season                      ■ c. In newly redesignated paragraph
                                                 97.820(c)(5)’’ appeared in place of the                  Group 2 source has excess emissions,                  (d)(3)(i):
                                                 terms ‘‘40 CFR 97.1020(c)(5)(iv)’’ and                   the Administrator will deduct from the                ■ i. Removing ‘‘After the Administrator’’
                                                 ‘‘40 CFR 97.1020(c)(5)’’, respectively.                  source’s compliance account an amount                 and adding in its place ‘‘Except as
                                                 *      *    *     *     *                                of CSAPR NOX Ozone Season Group 2                     provided in paragraph (d)(3)(ii) of this
                                                 ■ 21. Amend § 97.821 by:                                 allowances, allocated or auctioned for a              section, after the Administrator’’; and
                                                 ■ a. Redesignating paragraph (e) as                      control period in a prior year or the                 ■ ii. Adding ‘‘Original’’ before ‘‘Group 2
                                                 paragraph (e)(1);                                        control period in the year of the excess              allowances’’ each time it appears;
                                                 ■ b. In newly redesignated paragraph                     emissions or in the immediately                       ■ d. Adding paragraph (d)(3)(ii);
                                                 (e)(1), adding ‘‘Original’’ before ‘‘Group               following year, equal to two times the                ■ e. In paragraph (e)(1) introductory
                                                 2 allowances’’ each time it appears; and                 number of tons of the source’s excess                 text, adding ‘‘or (D)’’ before ‘‘of this
                                                 ■ c. Adding paragraph (e)(2).                            emissions, provided that—                             chapter’’;
                                                    The addition reads as follows:                           (1) The allowances deducted shall be               ■ f. In paragraphs (e)(1)(i), (e)(1)(ii)(A),
                                                                                                          CSAPR NOX Ozone Season Original                       (e)(1)(iii) and (iv), (e)(1)(v)(B), and (e)(2),
                                                 § 97.821 Recordation of CSAPR NOX
                                                                                                          Group 2 allowances, if the excess                     adding ‘‘Original’’ before ‘‘Group 2
                                                 Ozone Season Group 2 allowance
                                                 allocations and auction results.                         emissions are not from a source in a                  allowances’’ each time it appears;
                                                                                                          State listed in § 52.38(b)(2)(ii)(D)(1) of            ■ g. Revising paragraph (f) introductory
                                                 *      *    *      *    *                                this chapter (and Indian country within
                                                    (e) * * *                                                                                                   text;
                                                                                                          the borders of such a State) for a control            ■ h. Redesignating paragraph (f)(1) as
                                                    (2) By September 5, 2023, the
                                                                                                          period after 2022; and                                paragraph (f)(1)(i);
                                                 Administrator will record in each
                                                                                                             (2) The allowances deducted shall be               ■ i. In newly redesignated paragraph
                                                 CSAPR NOX Ozone Season Group 2
                                                                                                          CSAPR NOX Ozone Season Expanded                       (f)(1)(i):
                                                 source’s compliance account the CSAPR
                                                 NOX Ozone Season Expanded Group 2                        Group 2 allowances, if the excess                     ■ i. Removing ‘‘After the Administrator’’
                                                                                                          emissions are from a source in a State                and adding in its place ‘‘Except as
                                                 allowances allocated to the CSAPR NOX
                                                                                                          listed in § 52.38(b)(2)(ii)(D)(1) of this             provided in paragraph (f)(1)(ii) of this
                                                 Ozone Season Group 2 units at the
                                                                                                          chapter (and Indian country within the                section, after the Administrator’’; and
                                                 source in accordance with § 97.811(a)
                                                                                                          borders of such a State) for a control                ■ ii. Adding ‘‘Original’’ before ‘‘Group 2
                                                 for the control periods in 2023 and
                                                                                                          period after 2022.                                    allowances’’ each time it appears;
                                                 2024.
                                                                                                          *      *     *     *    *                             ■ j. Adding paragraph (f)(1)(ii); and
                                                 *      *    *      *    *
                                                                                                          ■ 23. Amend § 97.825 by:                              ■ k. In paragraph (f)(2):
                                                 ■ 22. Amend § 97.824 by:
                                                                                                          ■ a. In paragraph (a)(1), removing ‘‘and’’            ■ i. Adding ‘‘and not listed in
                                                 ■ a. In paragraph (a)(1), removing ‘‘and’’
                                                                                                          after the semicolon; and                              § 52.38(b)(ii)(D)(2) of this chapter’’
                                                 after the semicolon;                                                                                           before ‘‘(and Indian country’’; and
                                                 ■ b. Adding paragraphs (a)(3) and (4);                   ■ b. Adding paragraphs (a)(3) and (4).
                                                                                                             The additions read as follows:                     ■ ii. Adding ‘‘Original’’ before ‘‘Group 2
                                                 ■ c. In paragraph (c)(2)(ii), removing
                                                                                                                                                                allowances’’ each time it appears.
                                                 ‘‘§ 97.526(d), in’’ and adding in its place              § 97.825 Compliance with CSAPR NOX                       The additions and revision read as
                                                 ‘‘§ 97.526(d), § 97.826(d), or                           Ozone Season Group 2 assurance                        follows:
                                                 § 97.1026(e), in’’; and                                  provisions.
                                                 ■ d. Revising paragraph (d).                                                                                   § 97.826    Banking and conversion.
                                                                                                             (a) * * *
                                                    The additions and revision read as                       (3) Are CSAPR NOX Ozone Season                     *       *    *     *    *
                                                 follows:                                                 Original Group 2 allowances, if the                      (d) * * *
                                                 § 97.824 Compliance with CSAPR NOX                       deductions are not for compliance with                   (3) * * *
                                                 Ozone Season Group 2 emissions                           the CSAPR NOX Ozone Season Group 2                       (ii) After the Administrator has
                                                 limitation.                                              assurance provisions by the owners and                carried out the procedures set forth in
                                                   (a) * * *                                              operators of a group of sources in a State            paragraph (d)(1) of this section and
                                                   (3) Are CSAPR NOX Ozone Season                         listed in § 52.38(b)(2)(ii)(D)(1) of this             § 97.1026(e), upon any determination
                                                 Original Group 2 allowances, if the                      chapter (and Indian country within the                that would otherwise result in the initial
                                                 deductions are not for compliance with                   borders of such a State) for a control                recordation of a given number of CSAPR
                                                                                                          period after 2022; and                                NOX Ozone Season Original Group 2
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                                                 the CSAPR NOX Ozone Season Group 2
                                                 emissions limitation of a source in a                       (4) Are CSAPR NOX Ozone Season                     allowances in the compliance account
                                                 State listed in § 52.38(b)(2)(ii)(D)(1) of               Expanded Group 2 allowances, if the                   for a source in a State listed in
                                                 this chapter (and Indian country within                  deductions are for compliance with the                § 52.38(b)(2)(ii)(D)(1) of this chapter
                                                 the borders of such a State) for a control               CSAPR NOX Ozone Season Group 2                        (and Indian country within the borders
                                                 period after 2022; and                                   assurance provisions by the owners and                of such a State), the Administrator will
                                                   (4) Are CSAPR NOX Ozone Season                         operators of a group of sources in a State            not record such CSAPR NOX Ozone
                                                 Expanded Group 2 allowances, if the                      listed in § 52.38(b)(2)(ii)(D)(1) of this             Season Original Group 2 allowances but


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                                                 instead will allocate and record in such                 least 180 calendar days before                        under § 52.38(b)(7), (8), or (9) of this
                                                 account an amount of CSAPR NOX                           September 30, 2020 and that is located                chapter, to emit one ton of NOX during
                                                 Ozone Season Expanded Group 2                            in a State listed in § 52.38(b)(2)(ii)(D)(1)          a control period of the specified
                                                 allowances for the control period in                     of this chapter (and Indian country                   calendar year for which the
                                                 2023 computed as the quotient, rounded                   within the borders of such a State);                  authorization is allocated or auctioned
                                                 up to the nearest allowance, of such                     *     *      *     *     *                            or of any calendar year thereafter under
                                                 given number of CSAPR NOX Ozone                          ■ 26. Amend § 97.834 by revising                      the CSAPR NOX Ozone Season Group 2
                                                 Season Original Group 2 allowances                       paragraph (d)(2)(i) to read as follows:               Trading Program, where each CSAPR
                                                 divided by the conversion factor                                                                               NOX Ozone Season Group 2 allowance
                                                 determined under paragraph (d)(1)(i)(D)                  § 97.834    Recordkeeping and reporting.              is either a CSAPR NOX Ozone Season
                                                 of this section.                                         *      *    *     *     *                             Original Group 2 allowance or a CSAPR
                                                 *       *    *     *    *                                   (d) * * *                                          NOX Ozone Season Expanded Group 2
                                                    (f) Notwithstanding any other                            (2) * * *                                          allowance.
                                                 provision of this subpart or any SIP                        (i)(A) The calendar quarter covering               *      *    *    *      *
                                                 revision approved under § 52.38(b)(8) or                 May 1, 2017 through June 30, 2017, for                   CSAPR NOX Ozone Season Original
                                                 (9) of this chapter, CSAPR NOX Ozone                     a unit other than a unit described in                 Group 2 allowance means a CSAPR NOX
                                                 Season Expanded Group 2 allowances                       paragraph (d)(2)(i)(B) of this section;               Ozone Season Group 2 allowance other
                                                 or CSAPR NOX Ozone Season Group 3                           (B) The calendar quarter covering May              than a CSAPR NOX Ozone Season
                                                 allowances may be used to satisfy                        1, 2023 through June 30, 2023, for a unit             Expanded Group 2 allowance.
                                                 requirements to hold CSAPR NOX                           that did not commence commercial
                                                                                                                                                                *      *    *    *      *
                                                 Ozone Season Original Group 2                            operation at least 180 calendar days
                                                 allowances under this subpart as                         before September 30, 2020 and that is                 ■ 28. Amend § 97.1026 by:
                                                 follows, provided that nothing in this                   located in a State listed in                          ■ a. Revising the section heading; and
                                                 paragraph (f) alters the time as of which                § 52.38(b)(2)(ii)(D)(1) of this chapter               ■ b. Adding paragraphs (e) and (f).
                                                 any such allowance holding                               (and Indian country within the borders                   The revision and additions read as
                                                 requirement must be met or limits any                    of such a State);                                     follows:
                                                 consequence of a failure to timely meet                  *      *    *     *     *                             § 97.1026 Banking and conversion; bank
                                                 any such allowance holding                                                                                     recalibration.
                                                 requirement:                                             Subpart GGGGG—CSAPR NOX Ozone                         *      *     *    *     *
                                                    (1) * * *                                             Season Group 3 Trading Program
                                                    (ii) After the Administrator has                                                                               (e) Notwithstanding any other
                                                 carried out the procedures set forth in                  ■ 27. Amend § 97.1002 by:
                                                                                                                                                                provision of this subpart, by September
                                                 paragraph (d)(1) of this section and                     ■ a. Adding in alphabetical order a                   18, 2023, the Administrator will
                                                 § 97.1026(e), the owner or operator of a                 definition of ‘‘CSAPR NOX Ozone                       temporarily suspend acceptance of
                                                 CSAPR NOX Ozone Season Group 2                           Season Expanded Group 2 allowance’’;                  CSAPR NOX Ozone Season Group 3
                                                 source in a State listed in                              ■ b. Revising the definition of ‘‘CSAPR               allowance transfers submitted under
                                                 § 52.38(b)(2)(ii)(D)(1) of this chapter                  NOX Ozone Season Group 2 allowance’’;                 § 97.1022 and, before resuming
                                                 (and Indian country within the borders                   and                                                   acceptance of such transfers, will take
                                                 of such a State) may satisfy a                           ■ c. Adding in alphabetical order a                   the actions in paragraphs (e)(1) and (2)
                                                 requirement to hold a given number of                    definition of ‘‘CSAPR NOX Ozone                       of this section with regard to every
                                                 CSAPR NOX Ozone Season Original                          Season Original Group 2 allowance’’.                  compliance account for a CSAPR NOX
                                                 Group 2 allowances for a control period                    The additions and revision read as                  Ozone Season Group 3 source in a State
                                                 in 2017 through 2020 by holding                          follows:                                              listed in § 52.38(b)(2)(ii)(D)(1) of this
                                                 instead, in a general account established                                                                      chapter (and Indian country within the
                                                                                                          § 97.1002    Definitions.                             borders of such a State):
                                                 for this sole purpose, an amount of
                                                 CSAPR NOX Ozone Season Expanded                          *     *      *     *     *                               (1) The Administrator will deduct all
                                                                                                             CSAPR NOX Ozone Season Expanded                    CSAPR NOX Ozone Season Group 3
                                                 Group 2 allowances for the control
                                                                                                          Group 2 allowance means a CSAPR NOX                   allowances allocated for the control
                                                 period in 2023 (or any later control
                                                 period for which the allowance transfer                  Ozone Season Group 2 allowance                        periods in 2021 and 2022 from each
                                                 deadline defined in § 97.802 has passed)                 allocated for a control period after 2022             such compliance account.
                                                 computed as the quotient, rounded up                     under subpart EEEEE of this part,                        (2) For each CSAPR NOX Ozone
                                                 to the nearest allowance, of such given                  § 97.526(d), or § 97.1026(e) to a unit in             Season Group 3 allowance deducted
                                                 number of CSAPR NOX Ozone Season                         a State listed in § 52.38(b)(2)(ii)(D)(1) of          from a given source’s compliance
                                                 Original Group 2 allowances divided by                   this chapter (and Indian country within               account under paragraph (e)(1) of this
                                                 the conversion factor determined under                   the borders of such a State) or allocated             section, the Administrator will allocate
                                                 paragraph (d)(1)(i)(D) of this section.                  or auctioned for a control period after               to the source and record in the source’s
                                                                                                          2022 in accordance with the provisions                compliance account one CSAPR NOX
                                                 *       *    *     *    *                                of a SIP revision approved for such a                 Ozone Season Expanded Group 2
                                                 ■ 25. Amend § 97.830 by revising                         State by the Administrator under                      allowance for the control period in
                                                 paragraph (b)(1) to read as follows:                     § 52.38(b)(7), (8), or (9) of this chapter.           2023.
                                                 § 97.830 General monitoring,                             *     *      *     *     *                               (f) Notwithstanding any other
                                                                                                             CSAPR NOX Ozone Season Group 2
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                                                 recordkeeping, and reporting requirements.                                                                     provision of this subpart, CSAPR NOX
                                                 *      *     *      *    *                               allowance means a limited                             Ozone Season Expanded Group 2
                                                   (b) * * *                                              authorization issued and allocated or                 allowances may be used to satisfy
                                                   (1)(i) May 1, 2017, for a unit other                   auctioned by the Administrator under                  requirements to hold CSAPR NOX
                                                 than a unit described in paragraph                       subpart EEEEE of this part, § 97.526(d),              Ozone Season Group 3 allowances
                                                 (b)(1)(ii) of this section;                              or § 97.1026(e), or by a State or                     under this subpart as follows, provided
                                                   (ii) May 1, 2023, for a unit that did not              permitting authority under a SIP                      that nothing in this paragraph (f) alters
                                                 commence commercial operation at                         revision approved by the Administrator                the time as of which any such allowance


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                                                 holding requirement must be met or                       DEPARTMENT OF HEALTH AND                              Incentive Payment for the calendar year
                                                 limits any consequence of a failure to                   HUMAN SERVICES                                        (CY) 2023 payment year based on their
                                                 timely meet any such allowance holding                                                                         QP status for the 2021 QP performance
                                                 requirement:                                             Centers for Medicare & Medicaid                       period.
                                                                                                          Services
                                                    (1) After the Administrator has carried                                                                        When CMS disbursed the CY 2023
                                                 out the procedures set forth in                          42 CFR Part 414                                       APM Incentive Payments, CMS was
                                                 paragraph (e) of this section, the owner                                                                       unable to verify current Medicare billing
                                                 or operator of a CSAPR NOX Ozone                         [CMS–5538–N]                                          information for some QPs and was
                                                 Season Group 3 source in a State listed                                                                        therefore unable to issue payment. In
                                                 in § 52.38(b)(2)(ii)(D)(1) of this chapter               Medicare Program; Alternative                         order to successfully disburse the APM
                                                 (and Indian country within the borders                   Payment Model (APM) Incentive                         Incentive Payment, CMS is requesting
                                                                                                          Payment Advisory for Clinicians—                      assistance in identifying current
                                                 of such a State) may satisfy a
                                                                                                          Request for Current Billing Information
                                                 requirement to hold a given number of                                                                          Medicare billing information for these
                                                                                                          for Qualifying APM Participants
                                                 CSAPR NOX Ozone Season Group 3                                                                                 QPs in accordance with 42 CFR
                                                 allowances for the control period in                     AGENCY: Centers for Medicare &                        414.1450(c)(8).
                                                 2021 or 2022 by holding instead, in a                    Medicaid Services (CMS), Health and                      CMS has compiled a list of QPs we
                                                 general account established for this sole                Human Services (HHS).                                 have identified as having unverified
                                                 purpose, an equal amount of CSAPR                        ACTION: Payment advisory.                             billing information. These QPs, and any
                                                 NOX Ozone Season Expanded Group 2                                                                              others who anticipated receiving an
                                                 allowances for the control period in                     SUMMARY: This advisory is to alert
                                                                                                                                                                APM Incentive Payment but have not,
                                                 2023 (or any later control period for                    certain clinicians who are Qualifying
                                                                                                          APM participants (QPs) and eligible to                should follow the instructions to
                                                 which the allowance transfer deadline                                                                          provide CMS with updated billing
                                                 defined in § 97.802 has passed).                         receive an Alternative Payment Model
                                                                                                          (APM) Incentive Payment that CMS                      information at the following web
                                                    (2) [Reserved]                                        does not have the current billing                     address: https://qpp.cms.gov/resources/
                                                                                                          information needed to disburse the                    resource-library.
                                                 ■ 29. Amend § 97.1034 by:
                                                                                                          payment. This advisory provides                          If you have any questions concerning
                                                 ■ a. In paragraph (d)(2)(i)(C), removing
                                                                                                          information to these clinicians on how                submission of information through the
                                                 ‘‘June’’ and adding in its place                         to update their billing information to                website, please contact the Quality
                                                 ‘‘September’’;                                           receive this payment.                                 Payment Program Help Desk at 1–866–
                                                 ■ b. In paragraph (d)(3), revising the first             DATES: Updated billing information                    288–8292.
                                                 sentence; and                                            must be received no later than                           All submissions must be received no
                                                 ■ c. In paragraph (d)(4), adding a second                September 1, 2023 (see SUPPLEMENTARY                  later than September 1, 2023. After that
                                                 sentence.                                                INFORMATION for details).
                                                                                                                                                                time, any claims to an APM Incentive
                                                    The revision and addition read as                     FOR FURTHER INFORMATION CONTACT:                      Payment for the CY 2023 payment
                                                 follows:                                                 Tanya Dorm, (410) 786–2216.                           period based on an eligible clinicians’
                                                                                                          SUPPLEMENTARY INFORMATION:                            QP status for the 2021 QP performance
                                                 § 97.1034   Recordkeeping and reporting.
                                                                                                          I. Background                                         period will be forfeited.
                                                 *      *    *    *     *                                                                                          All submissions received by
                                                                                                             Under the Medicare Quality Payment
                                                    (d) * * *                                                                                                   September 1, 2023, will be processed
                                                                                                          Program, an eligible clinician who
                                                    (3) The designated representative                     participates in an Advanced Alternative               together on one date as soon as
                                                 shall submit each quarterly report to the                Payment Model (APM) and meets the                     practicable after September 1, 2023.
                                                 Administrator within 30 days after the                   applicable payment amount or patient                  CMS will not notify the submitter if we
                                                 end of the calendar quarter covered by                   count thresholds for a performance year               are unable to process the APM Incentive
                                                 the report, except that quarterly reports                is a Qualifying APM Participant (QP) for              Payment based on the billing
                                                 required for the calendar quarter                        that year. For payment years 2019                     information submitted for an eligible
                                                 covering May 1, 2023, through June 30,                   through 2024, which corresponds to                    clinician.
                                                 2023, shall be submitted by August 4,                    Performance Periods for 2017 through                     The Administrator of the Centers for
                                                 2023. * * *                                              2022, an eligible clinician who is a QP               Medicare & Medicaid Services (CMS),
                                                    (4) * * * Notwithstanding the                         for a year based on their performance in              Chiquita Brooks-LaSure, having
                                                                                                          a QP Performance Period earns a 5                     reviewed and approved this document,
                                                 provisions of §§ 75.64(a), 75.73(f)(1),
                                                                                                          percent lump sum APM Incentive                        authorizes Evell J. Barco Holland, who
                                                 97.434(d)(2), 97.634(d)(2), and
                                                                                                          Payment that is paid in a payment year                is the Federal Register Liaison, to
                                                 97.734(d)(2), the deadline for the
                                                                                                          that occurs 2 years after the QP
                                                 designated representative of such a unit                                                                       electronically sign this document for
                                                                                                          Performance Period. The amount of the
                                                 to submit the quarterly reports required                                                                       purposes of publication in the Federal
                                                                                                          APM Incentive Payment is equal to 5
                                                 under such additional programs for the                   percent of the estimated aggregate paid               Register.
                                                 calendar quarter covering May 1, 2023,                   amounts for covered professional                        Dated: July 25, 2023.
                                                 through June 30, 2023, shall be August
ddrumheller on DSK120RN23PROD with RULES1




                                                                                                          services furnished by the QP during the               Evell J. Barco Holland,
                                                 4, 2023.                                                 calendar year immediately preceding                   Federal Register Liaison, Centers for Medicare
                                                 *      *    *    *     *                                 the payment year.                                     & Medicaid Services.
                                                 [FR Doc. 2023–14180 Filed 7–28–23; 8:45 am]
                                                                                                          II. Provisions of the Advisory                        [FR Doc. 2023–16140 Filed 7–28–23; 8:45 am]
                                                 BILLING CODE 6560–50–P
                                                                                                                                                                BILLING CODE 4120–01–P
                                                                                                             The Centers for Medicare & Medicaid
                                                                                                          Services (CMS) has identified those
                                                                                                          eligible clinicians who earned an APM


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